UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

JOHN DOE,
Civil Action No:
Plaintiff,

-against-

JURY TRIAL DEMANDED
HOFSTRA UNIVERSITY;
BOARD OF TRUSTEES OF HOFSTRA
UNIVERSITY; LYNDA O’MALLEY, individually
and as agent for Hofstra University; ROBERT K.
MCDONALD, individually and as agent for Hofstra
University; ALLISON G. VERNACE, individually
and as agent for Hofstra University; and HEATHER
A. DEPIERRO, individually and as agent for Hofstra
University;

Defendants.

 

COMPLAINT

Plaintiff John Doe! (“Plaintiff’ or “Doe”), by his attorneys, Nesenoff & Miltenberg, LLP,

as and for his Complaint against Defendants Hofstra University (“Hofstra” or “the University’),

Board of Trustees of Hofstra University (“Board”), Lynda O’Malley (“O’Malley”), Robert K.

McDonald (“McDonald”), Allison G. Vernace (““Vernace’), and Heather A. DePierro (“DePierro”)

(collectively, “Defendants”), respectfully alleges as follows:

THE NATURE OF THIS ACTION

1, This case arises out of the actions taken and policies and procedures employed by

Defendants in investigating and erroneously adjudicating a complaint of sexual misconduct filed

 

' Plaintiff has filed herewith a motion to proceed by pseudonym.
by Jane Roe,’ a female undergraduate student at Hofstra, against Plaintiff John Doe, a male
undergraduate student at Hofstra, along with the actions and inactions of Defendants in failing to
adequately address Plaintiff's reported incidents of severe, racially-motivated harassment,
including physical violence.

2. Roe and Plaintiff, both freshmen at Hofstra during the time period relevant to this
action, met at a new student orientation in the Summer of 2017 and quickly became friends. A
few weeks into their first semester, Roe invited Plaintiff to her dorm room, where the two began
kissing on her bed. Plaintiff laid back and Roe got on top of him, and the two continued kissing
and caressing each other over their clothing. During this encounter, Roe made a comment about
the fact that she had a boyfriend and stated something to the effect of “this is wrong,” or “we
shouldn’t”, but she continued to kiss and engage with Plaintiff as she was on top of him. At some
point, Roe told Plaintiff they should stop, upon which Plaintiff immediately stopped kissing and
touching Roe. A short while later, Plaintiff had to leave for wrestling practice. Roe walked with
Plaintiff back to his dorm, where they parted ways with a hug.

3, Five months later, on February 14, 2018, Plaintiff was summoned to Hofstra’s
Public Safety office via a text message from Defendant Lynda O’Malley, Hofstra’s Assistant
Director of Public Safety. O’Malley insisted Plaintiff come to Public Safety immediately and
refused to disclose the reason for the meeting. At the meeting, Plaintiff was interrogated about the
incident with Roe in September of 2017, though he was not informed of any specific allegations
Roe had made against him. Plaintiff was denied the right to speak to an advisor despite his express

request for one. At the meeting, Public Safety officers attempted to cajole Plaintiff into submitting

 

2 Jane Roe is a pseudonym.
a written statement about what happened with Roe in September 2017, before speaking to an
advisor.

4. Approximately two weeks later, Hofstra informed Plaintiff that it had completed a
Title IX investigation into the September 2017 incident. Plaintiff had yet to be apprised of the
initiation of a Title IX investigation, let alone the specific allegations against him or the potential
charges or sanctions he faced.

5. After the close of the investigation, Plaintiff was issued a formal Notice of Charges
(Notice), informing Plaintiff for the first time that he was being charged with two counts Sexual
Assault in violation of Hofstra’s Student Policy Prohibiting Discriminatory Harassment,
Relationship Violence and Sexual Misconduct (“the Policy”). Specifically, Plaintiff was charged
with Non-Consensual Sexual Intercourse and Non-Consensual Sexual Contact, for allegedly
fondling Roe’s buttocks and digitally penetrating her vagina without her consent.

6. As Plaintiff would later discover, Hofstra’s Title IX “investigation” was little more
than a sham proceeding wherein Roe submitted a one-paragraph written statement accusing
Plaintiff of sexual assault and was never substantively interviewed or questioned regarding her
allegations. Essentially, as soon as a female student made an accusation of sexual misconduct
against a male student, the male student was presumed guilty and Hofstra undertook no effort
whatsoever to actually investigate the claims or seek the truth.

7. After a disciplinary hearing in April 2018, Plaintiff was found responsible for both
counts of Sexual Assault in violation of the Policy and issued the egregiously disproportionate
sanction of a two-year suspension. Neither the initial notice of finding letter nor the sanction letter
gave any rationale or explanation as to how Plaintiff was determined to be responsible, nor how

the sanction was selected. Plaintiff appealed both the finding and sanction, and both appeals were
summarily denied. This lawsuit represents Plaintiff's last and only recourse to clear his name and
right the wrongs occasioned by Defendants’ callous, biased, improper, and unlawful conduct.

8. Hofstra’s decision finding Plaintiff responsible for Sexual Assault and the
concomitant issuance of a two-year suspension, all because Plaintiff failed to understand Roe’s
initial vague and ambivalent statement about having a boyfriend, is a preposterous outcome and
an unduly harsh sanction. The instant that Roe clearly indicated to Plaintiff that she wanted to
stop, he did stop. Plainly, Plaintiff did not pose any threat to Roe or the campus community.

9, Moreover, as a result of Roe’s false allegations against Plaintiff, Plaintiff was
subjected to severe and extreme harassment, creating a hostile learning environment, including
stalking, threats, racially-discriminatory conduct, and physical violence. When Plaintiff reported
this harassment and abuse to Hofstra—and even included supporting documentary evidence—his
concerns were summarily disregarded, and Hofstra deliberately refused to take any significant
remedial action.

10. Hofstra’s disciplinary process in the instant case was replete with errors, including
but not limited to Defendants’: (i) failure to provide Plaintiff with timely notice of the charges
against him and the potential sanctions for such charges; (ii) failure to conduct a fair, thorough,
and impartial investigation; (iii) failure to properly address Plaintiff's well-documented reports of
discrimination, harassment, stalking, and abuse; (iv) failure to properly apply the preponderance
of the evidence as the burden of proof; (v) failure to adhere to Hofstra’s own Policy; and (vi) abuse
of discretion in the issuance of an unduly harsh and unwarranted sanction.

11. On information and belief, Hofstra was determined to find Plaintiff guilty as the
male accused, regardless of the facts of the case, as the result of immense pressure both externally

and internally: At the end of January 2018—just weeks before Plaintiff was summoned to
Defendant O’Malley’s office—the U.S. Department of Education’s Office for Civil Rights
(“OCR”) had just completed a nearly year-long investigation into Hofstra for allegedly failing to
sufficiently respond to sexual misconduct on campus. On information and belief, this was OCR’s
third such investigation at Hofstra. In addition, Hofstra had been heavily criticized by its student
body in the years leading up to and encompassing this case, for failing to properly address sexual
misconduct, and specifically, for Public Safety’s allegedly poor treatment of assault victims and
Hofstra’s failure to punish male students and faculty accused of assault and harassment.

12. Under the threat of the loss of federal funding, and in the face of years of criticism
for its seemingly lax response to reports of sexual misconduct, Hofstra decided to make an example
out of Plaintiff, regardless of the truth, motivated by his gender.

13. Throughout the disciplinary process, Plaintiff was presumed guilty from the start
and subjected to gender-biased unfair treatment leading to an erroneous outcome. By way of
example, and not limitation: (i) Defendants failed to provide Plaintiff with proper and adequate
notice of the charges against him; (i) Defendants deliberately refused to honor Plaintiff's right to
have an advisor at his Public Safety meeting; (iti) Defendants presumed Roe to be credible as the
female complainant and did not even bother to conduct a genuine investigation; (iv) Defendants
ignored any inconsistencies in Roe’s testimony and any inconsistency between Roe and her
witness; (v) Defendants failed to afford Plaintiff the requisite presumption of innocence required
by a preponderance of the evidence standard; (vi) Defendants imposed a wildly disproportionate
and unjustified sanction, plainly oriented toward proving Hofstra’s dedication to supporting female
assault victims, rather than tailoring the sanction to the facts of the case; (vii) Defendants made
findings of responsibility, imposed sanctions, and summarily dismissed Plaintiff's appeals without

ever providing a sufficient explanation or rationale as to these decisions; and (viii) Defendants
deliberately and repeatedly ignored Plaintiff's well-documented claims of racially discriminatory
harassment, threats, and assault.

14. As detailed further below, Defendants engaged in a flawed process causing an
erroneous outcome motivated by Plaintiff's gender, in violation of Title IX of the Education
Amendments of 1972.

15. As detailed further below, Defendants were deliberately indifferent to Plaintiff's
reports of racial discrimination and stalking, threats, and physical assault, which was sufficiently
severe and pervasive to cause a hostile learning environment and disrupt Plaintiff's educational
experience at Hofstra, in violation of Title VI of the Civil Rights Act of 1964 and New York State
Human Rights Law § 296(4).

16. As detailed further below, Defendants’ actions and inactions with respect to the
Title LX disciplinary process violated Hofstra’s own Policy, as well as New York Education Law
Article 129-B.

17. By violating their own Policy and depriving Plaintiff of a fair and impartial
disciplinary process, Defendants breached express and implied agreements with Plaintiff and acted
in bad faith in fulfilling their promises to him as an enrolled student paying tuition at Hofstra.

18. By violating their own Policy and refusing to address Plaintiffs repeated reports of
stalking, racial discrimination, harassment, threats, and assault, Defendants breached express and
implied agreements with Plaintiff and acted in bad faith in fulfilling their promises to him as an
enrolled student paying tuition at Hofstra.

19. By failing to abide by the standards set forth in New York Education Law Article
129-B, Defendants breached a duty of care to Plaintiff, which resulted in damages, including the

wrongful deprivation of his education and damage to his future education and career prospects.
20. As a result of Defendants’ discriminatory, unlawful, and negligent conduct,
Plaintiff has sustained damages, including but not limited to emotional distress, mental anguish,
damage to his future education and career prospects, and loss of his tuition payments.

21. Accordingly, Plaintiff brings this action to obtain monetary and injunctive relief for
violation of Title IX of the Education Amendments of 1972, Title VI of the Civil Rights Act of
1964, New York Human Rights Law § 296(4), New York Civil Rights Law § 40-c(2), breach of
contract, promissory estoppel, and negligence.

THE PARTIES

22. Plaintiff John Doe is a natural person and a resident of Indiana. At all relevant
times herein, Plaintiff was an undergraduate student at Hofstra University. Plaintiff matriculated
to Hofstra in the Fall of 2017 with an expected graduation date of May 2021.

23. Hofstra University is a partially federally funded, non-profit, nonsectarian
university in Hempstead, New York, with an undergraduate enrollment of approximately 6800
students.

24. The Board of Trustees of Hofstra University is the governing body of the University
and has the sole responsibility for the management of the affairs of the University. The Board is
comprised of no fewer than five and no more than thirty persons, plus up to ten former
chairpersons. The Board of Trustees operates in accordance with the Hofstra University corporate
bylaws, which are governed by the laws of the state of New York.

25, Lynda O’Malley is a natural person and, at all relevant times herein, was the
Assistant Director of Public Safety at Hofstra University. On information and belief, O’ Malley is

aresident of New York.
26. Robert K. McDonald is a natural person and, at all relevant times herein, was the
Associate Director of Operations in Hofstra’s Public Safety office. On information and belief,
McDonald is a resident of New York.

27. Allison G. Vernace is a natural person and, at all relevant times herein, was the
Title [IX Officer for Student Issues at Hofstra. On information and belief, Vernace is a resident of
New York.

28. Heather A. DePierro is a natural person and, at all relevant times herein, was the
Assistant Dean of Students and Director of Community Standards at Hofstra. On information and
belief, DePierro is a resident of New York.

JURISDICTION AND VENUE

29, This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332 because the
Plaintiff and Defendants are residents of different states and the amount in controversy exceeds
$75,000. This Court also has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because the
case arises under the laws of the United States, specifically, under Title IX of the Education
Amendments of 1972 and Title VI of the Civil Rights Act of 1964. This Court has supplemental
jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367, as the state law claims are so
closely related to the federal law claims as to form the same case or controversy under Article II
of the U.S. Constitution.

30. This Court has personal jurisdiction over Defendants Hofstra, O’Malley,
McDonald, Vernace, and DePierro on the grounds that these Defendants resided and/or conducted
business within the state of New York during the relevant time period.

31. This Court has personal jurisdiction over the Board of Trustees on the grounds that

the Board is organized under the laws of the state of New York.
32. Venue for this action properly lies in this district pursuant to 28 U.S.C. § 1391
because the acts or omissions giving rise to this action occurred in this judicial district.
FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

lL BACKGROUND: HOFSTRA FACES PRESSURE TO AGGRESSIVELY PURSUE
SEXUAL ASSAULT CLAIMS.

A. The April 2011 “Dear Colleague Letter”: The Office for
Civil Rights Places Pressure on Universities by Threatening
to Withhold Federal Funding.

33. On April 4, 2011, the Department of Education’s Office for Civil Rights (“OCR”)
issued a guidance letter to colleges and universities in receipt of federal funding, which became
widely known as the “April 2011 Dear Colleague Letter” (the “DCL”).

34. The DCL advised recipients that sexual violence constitutes sexual harassment
within the meaning of Title IX of the Education Amendments of 1972 and its regulations, and
directed schools to “take immediate action to eliminate the harassment, prevent its recurrence and
address its effects.” DCL at 4.

35. The DCL responded, in part, to a special investigative report published by National
Public Radio and the Center for Public Integrity, which proclaimed a campus rape epidemic and
criticized the OCR for its lax response to what the report characterized as a social problem of
critical importance. See Joseph Shapiro, Campus Rape Victims: A Struggle for Justice, National
Public Radio (Feb. 24, 2010), http://www.npr.org/templates/story/story.php?storylId=124001493.
The report described in detail the obstacles faced by sexual assault victims in obtaining redress
though college disciplinary proceedings, and how victims who did engage in the college
disciplinary process suffered additional trauma as a result. Much of the report focused on

underreporting, re-traumatization of victims, rape myth adherence on college campuses (e.g., that
women invite rape, that rapes are just drunk hook-ups, and that women routinely lie), and young
men’s cultural adherence to the sexual aggressor role.

36. The OCR further relied on faulty statistics in sounding its “call to action” for
campuses nationwide—that “about 1 in 5 women are victims of completed or attempted sexual
assault while in college.” DCL at 2. The researchers behind this study subsequently invalidated
that statistic as a misrepresentation of the conclusions of the study, and warned that it was
“inappropriate to use the 1-in-5 number as a baseline . . . when discussing our country’s problem
with rape and sexual assault on campus.” See Christopher Krebs and Christine Lindquist, Setting
the Record Straight on “I in 5”, Time Magazine (Dec. 14, 2015),
http://time.com/3633903/campus-rape- 1 -in-5-sexual-assault-setting-record-straight/.

37. Relying on the faulty one-in-five statistic, the OCR, through the DCL, minimized
due process protections for the accused by, among other things, mandating the adoption of a
relatively low burden of proof—‘“more likely than not”— in cases involving sexual misconduct,
expressly prohibiting colleges from applying a higher standard of proof.

38. The DCL advised that schools responding to Title IX complaints should “minimize
the burden on the complainant” and focus on victim advocacy. For example, it stated that schools
should give both parties the right to appeal a decision — in other words, if an accused student was
found not responsible, the complainant could then appeal and force the respondent to defend the
charges all over again, functionally constituting double-jeopardy.

39. Despite its purported purpose as a mere guidance letter, the Department of
Education treated the DCL as a binding regulation and pressured colleges and universities to
ageressively pursue investigations of sexual assault on campus.

40. On April 19, 2014, the OCR issued additional directives to colleges and universities

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in the form of a guidance document titled Questions and Answers on Title IX and Sexual Violence
(the “2014 Q&A”).

Al. Like the DCL, the 2014 Q&A was aimed at addressing educational institutions’
sexual misconduct policies, including the procedures schools “must” have in place “to prevent
sexual violence and resolve complaints” and the elements that “should be included in a school’s
procedures for responding to complaints of sexual violence.” The 2014 Q&A advised schools to
adopt a “trauma-informed” approach, advising, for example, that hearings should be “conducted
in a manner that does not inflict additional trauma on the complainant.” 2014 Q&A at 31. The
Q&A further advised that, although “the rights established under Title IX must be interpreted
consistently with any federally guaranteed due process rights . . . a school should ensure that any
due process rights do not restrict or unnecessarily delay the protections provided by Title IX to the
complainant.” 2014 Q&A at 13 (emphasis added).

42. In the same month that the OCR issued its 2014 Q&A on Title IX, the White House
issued a report titled Not Alone, which included a warning that if the OCR finds a school in
violation of Title IX, the “school risks losing federal funds.” See White House Task Force to
Protect Students from Sexual Assault, Not Alone (Apr. 2014), available at
https://obamawhitehouse.archives.gov/sites/default/files/docs/report_O.pdf. The report further
advised that the Department of Justice (“DOJ”) shared authority with OCR for enforcing Title IX,
and could therefore initiate investigation, compliance review, and/or litigation against schools
suspected of violating Title IX.

43. In June 2014, then-Assistant Secretary of Education Catherine Lhamon testified

before the United States Senate, warning that if the OCR could not secure voluntary compliance

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with the DCL from a college or university, it could elect to initiate an administrative action to
terminate federal funds or refer the case to the Department of Justice.

44. To support its enforcement of the DCL, the OCR hired hundreds of additional
investigators. To date, OCR has conducted over five hundred investigations of colleges for the
potential mishandling of complaints of sexual misconduct. See Title IX: Tracking Sexual Assault
Investigations, Chronicle of Higher Education, https://projects.chronicle.com/titleix/ (last visited
Dec. 18, 2018).

45. The threat of revocation of federal funds—the ultimate penalty—was a powerful
tool in motivating colleges, including Hofstra, to aggressively pursue and punish male students
accused of sexual misconduct. In that regard, Anne Neal, of the American Council of Trustees
and Alumni, observed: “There is a certain hysteria in the air on this topic, .... It's really a surreal
situation, I think.” See Tovia Smith, How Campus Sexual Assaults Came to Command New
Attention,” National Public Radio (Aug. 12, 2014),
https://www.npr.org/2014/08/12/339822696/how-campus-sexual-assaults-came-to-command-
new-attention. Neal explained that “schools are running so scared of violating the civil rights of
alleged victims that they end up violating the due process rights of defendants instead.”

46. Robert Dana, Dean of Students at the University of Maine, echoed the sentiment
that a fear of governmental intervention and withdrawal of funds could lead colleges to rush to
judgment against male students in disciplinary proceedings. See Tovia Smith, Some Accused of
Sexual Assault on Campus Say System Works Against Them, National Public Radio (Sept. 3, 2014),
https://www.npr.org/2014/09/03/3453 12997/some-accused-of-campus-assault-say-the-system-
works-against-them. Dana told NPR, "[c]olleges and universities are getting very jittery about it.”

Id.

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47. Likewise, on September 1, 2014, the Chronicle of Higher Education noted that
colleges were facing “increasing pressure from survivors and the federal government,” including
claims that college campuses had become “hazardous places” for female students. See Robin
Wilson, Presumed Guilty: College Men Accused of Rape Say the Scales are Tipped Against Them,
Chronicle of Higher Education (Sept. 1, 2014), https://www.chronicle.com/article/Presumed-
Guilty/148529. For example, the article noted that different standards were being applied to male
students versus female students: “Under current interpretations of colleges’ legal responsibilities,
if a female student alleges sexual assault by a male student after heavy drinking, he may be
suspended or expelled, even if she appeared to be a willing participant and never said no. That is
because in heterosexual cases, colleges typically see the male student as the one physically able to
initiate sex, and therefore responsible for gaining the woman’s consent.” Jd.

48. Notably, a recent study by the National Bureau of Economic Research found that
opening more Title IX investigations benefits colleges in their application submission rates, and
has no negative impact on securing donations. The study found “no evidence [that] federal Title
IX investigations reduce students’ interest in a university. Instead, [it found] evidence that these
investigations increase freshman applications and enrollment, for both female and male students.”
See Jason M. Lindo et al., Any Press is Good Press? The Unanticipated Effect of Title IX
Investigations on University Outcomes, National Bureau of Economic Research, Working Paper
No. 24852 (July 2018), http://www-nber.org/papers/w24852. The study further found that
“f]ederal Title IX investigations appear to have no effect on student retention, as the enrollment
of continuing students is unaffected,” and that “analysis of . . . data suggests that federal Title IX
investigations have no detectable effects on donations.” Jbid. In other words, colleges and

universities have everything to gain from aggressively pursuing Title IX cases, and nothing to lose.

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49. On September 22, 2017, the OCR rescinded the DCL and put in place interim
guidance (the “2017 Q&A”), while the current administration reviews and revises its practices
regarding the adjudication of complaints of sexual misconduct on college campuses. See Dep’t of
Ed., O&A on Campus Sexual Misconduct (Sept. 2017),
https:/Awww2.ed.gov/about/offices/list/ocr/docs/qa-title-ix-201709.pdf.

50. As Secretary of Education, Betsy DeVos, noted, the rescission of the DCL was
largely motivated by “[t]he truth . . . that the system established by the prior administration has
failed too many students,” specifically because “[t]he notion that a school must diminish due
process rights to better serve the ‘victim’ only creates more victims.” Press Release, Secretary
DeVos Prepared Remarks on Title IX Enforcement (Sept. 7, 2017), available at
https://www.ed.gov/news/speeches/secretary-devos-prepared-remarks-title-ix-enforcement.

51. As one college administrator observed shortly thereafter, “I think that [DeVos’s]
reference to due process is because of her overall assessment that the pendulum has swung too far
in favor of complainants as a result of the directives in the Dear Colleague Letter.” Sarah Asch,
Federal Changes to Title IX on Sexual Assault Could Impact Middlebury, The Middlebury Campus
(Sept. 20, 2017), https://middleburycampus.com/36090/features/federal-changes-to-title-ix-on-
sexual-assault-could-impact-middlebury/.

52. The 2017 Q&A, ina significant departure from the 2011 DCL, permits colleges to
utilize a higher burden of proof than “preponderance of the evidence” when adjudicating sexual
misconduct; it also emphasizes the need for equal rights under Title IX proceedings, mandating
that “[a]ny rights or opportunities that a school makes available to one party during the

investigation should be made available to the other party on equal terms.” 2017 Q&A at 4.

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53. The 2017 Q&A suggests that the policies and procedures in place at Hofstra at all
times relevant to this lawsuit — which, on information and belief, were tailored in such a way as to
comply with the 2011 DCL under threat of loss of federal funding — were unfair and, ultimately,
out of step with the goal of gender equality in Title IX proceedings. Moreover, to the extent these
policies did purport to provide a fair process to respondents, Defendants failed to honor them.

B. OCR Conducts Multiple Investigations into Hofstra’s
Handling of Sexual Assault and Harassment Claims.

54. The threat of loss of federal funds due to a Title IX investigation was not a baseless
fear for Hofstra; to the contrary, public records indicate Hofstra had been investigated by OCR
numerous times for its allegedly inadequate handling of sexual harassment and assault claims in
the decade leading up to Roe’s complaint in this case.

55. In January 2009, a female student at Hofstra filed a complaint with OCR alleging
the University failed to adequately respond to her reports of sexual harassment by other students.
That investigation closed in July 2009.

56.  InMay 2015, The Huffington Post reported that Hofstra University was again under
OCR investigation for its handling of claims of sexual harassment. See Tyler Kingkade, 4 Number
Of Colleges Are Under Scrutiny For Sexual Harassment, But You Wouldn’t Know It, The
Huffington Post (May 19, 2015), https://www.huffingtonpost.com/2015/05/ 19/colleges-sexual-
harassment_n_7309444.html (last updated June 3, 2015). On information and belief, that
investigation opened in July 2014 and went on for over a year, closing in September 2015. On
information and belief, the complainant in that case was a female student alleging wrongdoing by
a male student.

57. On information and belief, in March 2017, OCR opened its third investigation into

Hofstra for its alleged mishandling of sexual harassment and sexual assault claims by female

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students, as well as insufficient grievance procedures and insufficient dissemination of its policies.
On information and belief, that investigation closed in January 2018, just weeks before Roe filed
her complaint against Plaintiff.

C. Hofstra Faces Student Criticism for Insufficiently
Responding to Sexual Assault and Harassment Claims.

58. In 2015, while Hofstra was under its second OCR investigation, Hofstra unveiled a
new initiative called “It’s On Us,” mirroring an identically-named campaign initiated by the White
House, which was aimed at raising awareness surrounding sexual assault. However, after its on-
campus launch, the program was panned in an editorial published in Hofstra’s school newspaper,
The Hofstra Chronicle, wherein the author opined that the entire affair was little more than a public
relations stunt and a waste of University resources. See Julie Rafatpanah, It’s On Us Fails to
Discuss Sexual — Assault, The Hofstra Chronicle (Mar. 2, 2015),
https://www.thehofstrachronicle.com/archive-2015/its-on-us-fails-to-discuss-sexual-
assault?rq=sexual%20assault.

59. In the article, the writer lamented that Hofstra’s initiative lacked any real substance
and appeared to be more of a marketing campaign: “It’s On Us T-shirts and hoodies were given
out in an effort to raise ‘awareness’ of sexual assault on campus. ... Although It’s On Us is meant
to be a community movement, it felt much more like a public relations event put on by the Hofstra
administration. The reason the It’s On Us campaign is appealing is the same reason that it is
ineffective; it doesn’t directly deal with the issue of sexual assault.” Jd. The author continued,
“The Hofstra It’s On Us video ironically states, ‘it’s on us to have the difficult conversations.’
Apparently, according to Hofstra, handing out piles of shirts and posing with ‘It’s On Us’ signs is

as difficult of a conversation as we are able to have.” Id.

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60. In response to the editorial, a member of Hofstra’s Its On Us programming
committee submitted a letter to the editor defending the launch, stating that “[t]he students, faculty
and staff of Hofstra University all want the same thing — to effectively, and hopefully one day
permanently, put an end to sexual assault of all kinds, by whatever means necessary.” See Jackie
Bakewell, Letter to the Editor: In Response to “It's On Us fails to discuss sexual assault,” The
Hofstra Chronicle (Mar. 10, 2015), https://www.thehofstrachronicle.com/archive-20 | 5/letter-to-
the-editor-in-response-to-its-on-us-fails-to-discuss-sexual-assault?rq=sexual%20assault
(emphasis added).

61. In November 2015, just two months after OCR concluded its second investigation
at Hofstra, the University launched its very first “Week of Action,” created by the University’s It’s
On Us committee. See Emily Hassett, Jt’s On Us Committee Initiative Seeks Student Action, The
Hofstra Chronicle (Dec. 7, 2015), https://www.thehofstrachronicle.com/archive-2015/its-on-us-
committee-iniative-seeks-student-action?rq=sexual%20assault. The Week of Action included
“sneakers, conferences, film screenings and workshops for students,” including a lecture by
Anthony Zenkus, director of education for The Safe Center Long Island, an organization created
through the merger of the Nassau County Coalition Against Domestic Violence and the Coalition
Against Child Abuse & Neglect. According to the Hofstra Chronicle, “The It’s On Us Week of
Action [was] aimed specifically at raising a higher level of awareness on college campuses over
the course of one week to advocate for survivors of sexual assault.” Id.

62.  Hofstra’s very public ramping up of its sexual assault awareness efforts, coinciding
with its second OCR investigation for failing to adequately address sexual misconduct claims,
evidences the pressure Hofstra felt from both students and the federal government to better address

claims of sexual misconduct and to ensure that accused students faced punishment.

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63. In 2017, in response to Secretary of Education Devos’s public statements regarding
the need to revamp Title IX to ensure due process to the accused, The Hofstra Chronicle published
an op-ed excoriating Devos’ comments and declaring the concern over due process to be a “thinly-
veiled attempt at erasing the progress” of the prior presidential administration. See Delilah Gray,
Opinion: DeVos Defends Assault Deniers, The Hofstra Chronicle (Sept. 11, 2017),
https://www.thehofstrachronicle.com/archive-2017/opinion-devos-defends-assault-
deniers?rq=sexual%20assaullt.

64. The author of the article opined, “[DeVos] continues to meet with family members
of those accused of sexual assault and advocates for a system that makes speaking out harder for
victims, which proves which side she’s fighting for.” Jd. She continued, “I find the blatant
disregard to be not only offensive, but incredibly demeaning to sexual assault survivors. The best
way to approach Title IX is to move forward by encouraging people to speak out about assault and
improving investigational procedures.” Jd.

65. A few months later, The Hofstra Chronicle published a letter to the editor
addressing “institutional misogyny,” criticizing the University’s perceived reluctance to hold male
students and/or faculty members accountable for alleged sexual misconduct and what the author
perceived to be ineffective and insincere Title IX training for students. See Letter to the Editor:
Hofstra’s Title IX Policies Are Asinine, The Hofstra Chronicle (Nov. 7, 2017),
https://www.thehofstrachronicle.com/archive-201 7/letter-editor-hofstras-title-ix-policies-asinine.

66. The author of the letter recalled, “I spoke to a member of the Student Government
Association (SGA) about the [Title IX] training session I attended and about Title IX in general

and it appears to be little more than a deterrent. The SGA representative told me they personally

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know someone who was sexually assaulted more than a year ago by a member of the Hofstra
community and they still have class with this individual; the investigation is pending.” Jd.

67. The author continued, “the Title IX statutes at Hofstra and the law at large are an
uphill battle for the victim. If you want to report a case of sexual assault you have to call Public
Safety who recently received public chastisement in The Chronicle for their inefficiency...” Jd.
The author concluded that, for victims of sexual assault, “[y]ou can go through the Title IX office
and hope that if you complain they’ll do something about it. I tend to think this is a fruitless
attempt.” Id.

68. On November 9, 2017, The Hofstra Chronicle published an op-ed piece praising
the increased number of women speaking out against sexual assault since the inception of the “Me
Too” movement. See Delilah Gray, Opinion: The Weinstein Effect: Why Women Are Speaking
Out (Nov. 9, 2017), https://www.thehofstrachronicle.com/archive-2017/opinion-weinstein-effect-
women-speaking?rq=sexual%20assault. The piece focused on female victim advocacy
specifically, and noted that “[t]he time where people would throw around the phrase, ‘[b]oys will
be boys’ is coming to an end. Boys, like everyone else, will be held accountable for their actions.”
Id. (emphasis added).

69. On information and belief, in April 2018—the same month Plaintiff had his Title
IX hearing in this matter—Hofstra put on its first-ever Sexual Assault Awareness Month (SAAM).

70. On information and belief, the first nationally-recognized Sexual Assault
Awareness Month was in April 2000, as the result of a long-running campaign by the National
Coalition Against Sexual Assault and the National Sexual Violence Resource Center. The theme

of the 2018 SAAM, as promoted by Hofstra, was “embrace your voice.”

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71. Throughout the month, Hofstra held numerous activities on campus in support of
sexual assault survivors and focusing on awareness and prevention. Notably, the first of these
events was about the “Start by Believing” campaign. According to a description of the event
promoted by Hofstra, “[iJn the wake of the #MeToo movement, many people have asked what
they can do to support survivors. For Sexual Violence Awareness Month, the Safe Center LI is
asking that we #StartByBelieving. Through this social media campaign, we will be asking students
to take the pledge and share why they think it is important to believe survivors of sexual violence.”

72. As part of its SAAM activities, Hofstra’s It’s On Us committee also spent a week
tabling in the Student Center with blank quilt squares that students could use to write messages of
support for survivors of sexual assault. The squares would then be sewn together into a quilt and
put on display on campus. At the time, Defendant Vernace told the Hofstra Chronicle, “[t]he quilt
provides a public healing space and also shows the impact of sexual violence in our communities.”
See Nicole Boucher, Monument Quilt Honors Survivors, The Hofstra Chronicle (Apr. 17, 2018),
https://www.thehofstrachronicle.com/category/news/2018/4/17/monument-quilt-honors-
survivors?rg=sexual”%20assault.

73. Inthe same article, Vernace praised the It’s On Us committee, noting it “has helped
to bring proactive educational programming around sexual misconduct and intimate partner
violence.” Jd.

74. In early May 2018, around the same time that Hofstra was deciding Plaintiff's fate
in the Title [IX matter, The Hofstra Chronicle published an editorial proclaiming that Bill Cosby’s
recent convictions for sexual assault were a cause “to rejoice for sexual assault victims
everywhere.” See Delilah Gray, Bill Cosby's Conviction Represents Progress, The Hofstra

Chronicle (May 8, 2015), https://www.thehofstrachronicle.com/category/editorials/2018/5/8/bill-

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cosbys-conviction-represents-progress?rq=sexual%20assault. The article continued, “Tt}he norm
right now, sadly, is that many cases don’t even go to court. Two out of three cases go unreported.
A study by RAINN shows 994 out of 1000 perpetrators will walk free. The reason this trial is so
important is because for once, a man of power is getting punished.” /d. Again, the article focused
specifically on holding men accountable for sexual misconduct.

75. Around the same time, Hofstra approved the creation of a new student-led Title IX
advisory board. The purpose of the student board was to work with school administrators “to make
sure that the policies of Title IX are as transparent as possible and ensur[e] that students feel
comfortable with and are aware of resources that are available.” See Melanie Haid, Student Board
Approved to Work Alongside Title IX, The Hofstra Chronicle (May 8, 2018),
https://www.thehofstrachronicle.com/category/news/20 18/5/8/student-board-approved-to-work-
alongside-title-ix. A Hofstra student asked to comment for the article responded positively to the
creation of the board, noting, “I think that while most professors have a good sense of right and
wrong in these sorts of cases, there is nothing like a college student’s empathy for another college
student.” Jd.

76. In September 2018, The Hofstra Chronicle published another article echoing the
sentiments of the aforementioned November 2017 editorial piece: that Hofstra was not sufficiently
responding to allegations of sexual assault, and that Public Safety specifically was insufficiently
attentive to victims’ needs and sensitivities. See Carissa Ramirez, Still a Long Way to Go For Title
IX at Hofstra, The Hofstra Chronicle (Sept. 17, 2018),
https://www.thehofstrachronicle.com/category/editorials/2018/9/17/still-a-long-way-to-go-for-

title-ix-at-hofstra.

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77. The article opens with this bleak assessment of Title IX procedures at Hofstra: “It’s
fairly common knowledge among students on Hofstra’s campus that Title [x reports are not always
taken seriously and that Hofstra’s culture around sexual misconduct in general needs
improvement.” The article went on to accuse Public Safety of “victim-blaming” reporting
students, and argued that “[s]tudents who have been victim-blamed in the past find their claims to
be denied and invalidated by administrators, likely because if the claims were to be taken seriously,
that would serve as proof that Hofstra University broke state educational law. Rather than
improving students’, specifically survivors’, experiences, Hofstra would rather save itself the
potential legal troubles and not address inappropriate and, frankly, illegal behaviors.”

78.  Inresponse to this article, Defendant Vernace and Denise Cunningham, Hofstra’s
Title IX officer for employee conduct, then submitted their own editorial, reassuring students that
Hofstra is dedicated to enforcing Title IX and supporting victims of sexual assault. See Allison
Vernace & Denise Cunningham, Re: Title IX, The Hofstra Chronicle (Oct. 1, 2018), available at
https://www.thehofstrachronicle.com/category/editorials/2018/10/ 1/re-title-ix. In the article, the
Title IX coordinators praised the new student Title IX board and noted the board had already
effected a policy change: increasing the time for students to report misconduct from six months to
one year.

79. In light of Hofstra’s lengthy history of OCR investigations, the constant criticism
from its students that it does not sufficiently respond to reports of sexual assault or punish
respondents, and Hofstra’s very vocal, very active efforts to ensure its students that it is dedicated
to addressing sexual assault claims, Plaintiff was doomed to be found responsible as soon as he

was accused, regardless of the facts of the case.

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D. Hofstra’s History. Pattern, and Practice of Discrimination
and Double-Standards,

80. Plaintiff is not the first male student at Hofstra to be falsely accused and railroaded
by Hofstra’s Public Safety office -specifically, Defendant McDonald.

81. In April 2018, the New York Supreme Court vacated a Title IX finding and sanction
imposed by Hofstra’s Title IX office against a male respondent, finding Hofstra prevented the male
respondent from properly preparing for his case, and unevenly, unfairly applied its policies;
specifically, that it failed to respond to numerous policy violations by the female complainant,
while finding the male respondent responsible for violations for which there was no credible
evidence in the record. See Hall v. Hofstra Univ., 59 Misc. 3d 1214(A) (N.Y. Sup. Ct. 2018).

82. The court ordered the finding and sanction to be dismissed, noting that Hofstra
failed to “exercise ... honest discretion after a full review of the operative facts,” and that
Hofstra’s attempts to procedurally hobble respondent’s defense of his case were “troubling.” Ibid.

83. The Hall case demonstrates a disturbing pattern of facts similar to the instant case,
including: The Public Safety Office’s unilateral communications with potential complainants to
encourage them to file formal complaints, where they had previously declined to do so;
MacDonald’s patent failure to investigate exculpatory evidence (which he defended in the Hall
case as “not [his] role”); Hofstra’s failure to investigate/punish the female complainant despite
evidence of her policy violations; Hofstra’s failure to honestly and impartially evaluate the
evidence in the case; and Hofstra’s failure to provide a procedurally fair and adequate opportunity
for the male respondent to defend himself. See id.

84. Oninformation and belief, Hofstra’s Public Safety Office has no uniform policy on

note-taking during interviews, permitting abuse and uneven investigatory tactics.

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85. On information and belief, including the record in the Hal] case, Defendant
MacDonald routinely, systematically, and intentionally conforms his note-taking practices to
whatever will benefit the female complainant—in other words, if a witness gives statements
beneficial to the respondent, he will either discard the notes or not reduce the conversation to
writing.

86. On information and belief, Hofstra’s Public Safety officers, specifically
MacDonald, routinely, deliberately fail to investigate any leads or witnesses that could benefit or
exculpate male respondents, and likewise, fail to adequately investigate witnesses or issues that
could call into question the female complainant’s narrative or credibility.

87. On information and belief, Hofstra’s Public Safety Office and Title IX office
routinely ignore and refuse to prosecute policy violations by female complainants against male
respondents.

88. On information and belief, Hofstra’s Public Safety Officers offer guidance and
assistance to female complainants on how to write their complaints.

89. Taken altogether, the facts of the Hall case and the parallels to the instant case show
that Hofstra routinely, habitually, and as a matter or pattern and practice skews its Title IX
procedures and conclusions in favor of female complainants and against male respondents.

Il. HOFSTRA PROSECUTES PLAINTIFF AND REFUSES TO INVESTIGATE ROE.
A. Plaintiff and Jane Roe.

90. Plaintiff and Roe first met at a new student orientation at Hofstra in July 2017, and
quickly became friends. Once school began in August 2017, Plaintiff and Roe would speak
regularly, hang out almost daily, go to parties together, and even did laundry together on one

occasion.

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91. On the afternoon of September 16, 2017—just a few weeks into their first semester
at Hofstra—Roe and Plaintiff were chatting in the Student Center. Roe asked Plaintiff if he wanted
to go to her dorm room, and he agreed. They entered Roe’s building around 2:15 p.m. In Roe’s
room, the two sat on Roe’s bed and began kissing. Plaintiff laid back on the bed, and Roe got on
top of him. The two continued kissing and began caressing each other over their clothing.

92. At one point during the encounter, Roe told Plaintiff that she had a boyfriend, and,
on information and belief, said something along the lines of, “this is wrong.” However, Roe
continued to kiss and touch Plaintiff as she said so, and she remained on top of Plaintiff. Because
of her position, if Roe did not want to engage with Plaintiff at any point, all she had to do was sit
up; she was in complete physical control of their encounter at all times.

93. After a little while of kissing and touching each other over their clothing, Roe told
Plaintiff they should stop because of her boyfriend. Plaintiff immediately stopped kissing Roe.
Roe then got up off of Plaintiff, and Plaintiff sat up. The two chatted for a few minutes, and
Plaintiff told Roe he had to leave soon for wrestling practice. Roe told Plaintiff she would come
with him. At around 3:30 p.m., the two left Roe’s building and walked to Plaintiff s dorm together,
where the two parted ways amicably.

94. Approximately two days later, a “friend” of Roe’s began stalking and harassing
Plaintiff on social media. On information and belief, the friend found Plaintiff's public Instagram
profile, and began messaging numerous people who appeared in pictures with Plaintiff, demanding
Plaintiffs cell phone number. At one point, the friend messaged Plaintiff directly, insisting that
Plaintiff provide his cell phone number, as the friend needed to “ask [Plaintiff] something

important, urgent in fact.” When Plaintiff asked the friend what he wanted, the friend refused to

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put anything in writing on the social media platform, insisting they speak over the phone instead.
Plaintiff eventually relented, giving the friend his phone number.

95. The friend then called Plaintiff on his cell phone and told Plaintiff, in an accusatory
tone, “you know [Roe] has a boyfriend, right?” The friend then told Plaintiff in no uncertain terms
that if Plaintiff ever spoke to Roe again, the friend would get a group of people together and they
would “beat [Plaintiff s] ass.”

96. Later that day, Roe acknowledged that her friend had stalked, harassed, and
threatened Plaintiff, apologizing to Plaintiff for the friend’s threats and assuring Plaintiff that
“everything [was] fine” and Plaintiff had nothing to worry about. Plaintiff took Roe at her word,
but the two did not socialize after that.

97. Several weeks later, Plaintiff, who is part African-American and part Puerto-Rican,
went to a Hofstra fraternity party with some friends. As they attempted to enter the party, Plaintiff
was stopped at the door by another Hofstra student, who told Plaintiff that his picture had been
distributed among the fraternity and that Plaintiff was not to be admitted. On information and
belief, the photo was distributed and Plaintiff was banned from the fraternity by a friend of Roe’s,
after Roe falsely indicated to that student that Plaintiff had raped her.

98. As Plaintiff walked away from the party towards the sidewalk, several people then
came out of the party, shoved Plaintiff, punched him numerous times in the back of the head, and
called him racial slurs.

99. After being stalked, harassed, threatened, and physically assaulted by Roe’s friends
in Fall of 2017, Plaintiff avoided Roe for the rest of the semester, and the two did not speak when

the Spring semester began in January 2018.

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B. Hofstra Initiates Title [IX Proceedings and Ignores Plaintiff's
Pleas for Help.

100. On the morning of February 14, 2018—nearly five months after Plaintiff and Roe
had kissed in her room—Plaintiff was sitting in class when he received a text message from
Defendant O’ Malley, Hofstra’s Assistant Director of Public Safety, stating she “need[ed] to meet”
with Plaintiff and that he should come to Public Safety as soon as his class was over. As Plaintiff
was in the middle of class, he did not initially respond to the message. Within approximately
twenty minutes, O’Malley then called Plaintiff on his cell phone to insist he come to Public Safety
immediately; however, she refused to disclose the reason for the meeting. Plaintiff complied and
went to the Public Safety office. When he arrived, he was met by Defendant O’ Malley as well as
Defendant McDonald, another Public Safety officer.

101. Defendants O’Malley and McDonald then asked Plaintiff what happened between
him and Roe on September 16, 2017. Defendants did not inform Plaintiff of the reason for this
inquiry, nor that a Title IX complaint had been filed, nor what the specific allegations against him
were. Defendants did not inform Plaintiff of his rights under Title IX nor Hofstra’s applicable
policies.

102. As the interview began to feel like an interrogation, Plaintiff asked whether he
could have an advisor present. Defendants O’Malley and McDonald told Plaintiff “why would
you need an advisor?” and “no, we need to do this now.” Plaintiff was extremely uncomfortable
with the interrogation and did not feel that it was in his best interest to discuss what had happened
between himself and Roe without an advisor present.

103. Defendants O’Malley and McDonald then pressured Plaintiff to submit a written
statement, on the spot, regarding what happened between he and Roe on September 16, 2017.

Plaintiff was uncomfortable with this demand, and requested that he be permitted to leave and

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submit it later that evening, as he had to go to wrestling practice. O’Malley and McDonald
reluctantly acquiesced. They then had Plaintiff sign a No-Contact Order (“NCO”), prohibiting
him from having any contact with Roe, and vice-versa. They did not provide him any copy of
Hofstra’s applicable Title IX policies, nor did they advise him that he could have an advisor present
when he returned.

104. At approximately 9:45 a.m. the next day, Defendant O’Malley texted Plaintiff,
chastising him for not returning the written statement after wrestling practice the prior evening,
and asking him to come in that day to submit his statement. Again, O’Malley made no mention
of Plaintiff's right to have an advisor. Plaintiff wrote a brief statement and submitted it to the
Public Safety office that day. While he was there, O’ Malley told Plaintiff that he should add more
details to his statement, as Roe’s statement was “very detailed.” However, she made no mention
of what exactly Roe had alleged.

105. On information and belief, Roe had initially reported the incident to Public Safety
during the Fall of 2017, but had declined to move forward with an imvestigation at that time.
Curiously, the timing of her decision to formalize her complaint in February was just before the
six-month deadline for pursuing claims under Hofstra’s policy at the time. On information and
belief, Hofstra’s Pubic Safety office may have encouraged Roe to pursue a formal complaint before
the deadline expired.’

106. A few days later, Plaintiff was contacted by Defendant Vernace, Hofstra’s Title IX
officer for Student Issues, to set up a meeting for a procedural review of Hofstra’s Title [X process.

The meeting took place on or about February 27, 2018.

 

3 Hofstra’s Public Safety Office took similar actions in the Hall case, falsely telling the female
complainant that the male respondent had appealed a no-contact order, which then prompted the
complainant to proceed with a formal process.

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107. By this time, Plaintiff's parents had hired the undersigned firm, Nesenoff &
Miltenberg, to assist him through the Title IX process. As such, a non-attorney employee of the
firm accompanied Plaintiff to this meeting as his advisor, pursuant to his rights under New York
Education Law § 6444(5) as well as the Hofstra University Student Handbook.

108. At the meeting with Vernace, Plaintiff was informed that Hofstra’s Public Safety
office had completed a Title IX investigation relating to the September 16, 2017 incident. At that
time, Plaintiff still had yet to be informed of the charges or precise allegations against him.

109. At the meeting, Plaintiff told Vernace about the stalking, racial discrimination,
harassment, threats, and assault that he had been subjected to as a result of Roe’s actions. On
information and belief, Vernace expressed no real concern for Plaintiff's safety or well-being, and
simply told him to report the issue to Public Safety.

110. Onor about February 28, 2018, the day after Plaintiff met with Vernace, Plaintiff
was sent a formal Notice of Charges (Notice) stating that he was being charged with two counts
of Sexual Assault in violation of Hofstra’s Student Policy Prohibiting Discriminatory Harassment,
Relationship Violence and Sexual Misconduct (“the Policy”). Specifically, Plaintiff was charged
with Non-Consensual Sexual Intercourse and Non-Consensual Sexual Contact, for allegedly
fondling Roe’s buttocks and digitally penetrating her vagina without her Affirmative Consent, “as
set forth in the documents in the case file.” This Notice, issued by Defendant DePierro after the
close of the investigation, was the first time Plaintiff was informed of the precise allegations
against him.

111. The Notice made no mention of the potential sanctions Plaintiff could face if he

was found responsible for the charges. It did, however, require Plaintiff to schedule an

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appointment to meet with DePierro within four days, or else he would be subject to a $100 fine for
“failure to comply.”

112. On March 8, 2018, Plaintiff and his advisor then met with Defendant DePierro.
DePierro explained to Plaintiff that he was going to have a disciplinary hearing based upon the
charges in the Notice, and went over the hearing procedures. At this meeting, Plaintiff again raised.
the issue of the stalking, threats, harassment, racial discrimination, and physical abuse he had
suffered as a result of Roe’s actions. Again, Plaintiff was simply told to report it to Public Safety.

113. On March 9, 2018, Plaintiff sent an email to Defendant O’Malley reporting the
stalking, threats, harassment, and abuse he had suffered as a result of Roe’s actions. He detailed
being beaten and called racial slurs in connection with being ejected from the party. That same
day, Plaintiff sent a follow-up email containing screenshots of the social media messages he had
received from Roe’s friend demanding his phone number.

114. On March 27, 2018, Plaintiffs advisor emailed Defendant O’Malley on Plaintiff's
behalf, to request a status update on Plaintiffs report of stalking, harassment, threats, and assault.
In a curt response to both the advisor and Plaintiff, O’ Malley refused to provide any information
and told Plaintiff to check his university email. O’Malley did not indicate why or what was in the
email, and did not otherwise indicate that she was addressing his complaint or ask if he needed
assistance. No one from Hofstra ever followed up on Plaintiff's complaint after this email.

115. On March 19, 2018, Plaintiff received a Notice of Hearing (NOH) from Defendant
DePierro. The NOH stated that Plaintiff could submit a list of proposed witnesses for the hearing,
but only if the witnesses were initially disclosed to Public Safety during the investigation. Being
as Plaintiff was not even advised of Hofstra’s Title IX procedures until after the investigation was

completed, Plaintiff clearly was not able to submit witnesses and was therefore precluded from

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proposing any witnesses for the hearing. The NOH contained no information on who would
comprise the Administrative Board for his Title [X hearing.

116. On April 4, 2018, counsel for Plaintiff wrote to DePierro requesting some basic
information about the hearing process, including the names of the Administrative Board members
who would be overseeing Plaintiff's hearing. DePierro responded that the Administrative Board
members would not be identified until the start of the hearing itself. DePierro then spuriously
advised Plaintiff that he could request removal of a board member at that time, if he believed there
to be a conflict of interest, but that he would have to be prepared to substantiate this claim. Plainly,
it would be impossible for Plaintiff to obtain evidence of a conflict of interest if Hofstra would not
disclose the identities of the board members beforehand.

117. On April 9, Plaintiff was permitted to review the “investigative file” for Roe’s
complaint. Conspicuously absent from this file was any indication of a genuine investigation, let
alone a “thorough” one.

118. The file consisted of: (i) a one-paragraph written statement by Roe, which was not
signed or dated by Roe, stating that Plaintiff followed Roe back to her room from the student
center, that he “made” her get on top of him and then digitally penetrated her as she told him to
stop, and that he continued to do so for over an hour while she continually protested; (i1) a one-
paragraph statement by a friend of Roe’s (“Witness 1”), dated February 14, 2018, stating that Roe
called Witness 1 three times between noon and 2:00pm on September 16, 2017, and told Witness 1
that Plaintiff attempted to have sex with her multiple times, that he “held her down” and digitally
penetrated her, but that she was too frozen to say stop, and just lay there silently, and that he
stopped after a few minutes; (iii) medical records from the Hofstra University Wellness Center

referring to a gynecological exam of Roe from September 18, 2017, which noted no abrasions,

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fissures, abnormalities, bruising, or any other physical signs of assault; (iv) Plaintiff's written
statement to Public Safety; (v) interview notes from Public Safety referring to Plaintiff's February
14, 2018 interview; (vi) a copy of the No Contact Order; and (vii) student access card swipe records
showing that Plaintiff and Roe were in Roe’s room from approximately 2:30 p.m. to 3:15 p.m, and
that Plaintiff swiped back into his dorm at approximately 3:45 p.m.

119. Thus, the entire “investigative file” contained no interview notes from any
interviews with Roe or Witness 1, and indicated that no investigation whatsoever was made into
the considerable discrepancies between Roe and her witnesses’ recounting of events, nor
Witness 1’s impossible timeline, which was directly contradicted by the swipe card records. On
information and belief, Public Safety never even bothered to ask Roe or Witness | for their phone
records from the day in question, which could have easily confirmed or denied Witness 1’s claims.

120. On April 17, 2018, Plaintiff had a disciplinary hearing before a three-member
Administrative Board. The only witnesses called at the hearing were Defendant O’Malley and
Witness 1. Roe testified as well.

121. Witness 1 testified that Roe called him three times between noon and 2:00 p.m. on
the afternoon of September 16, 2017. He stated that he went to her room later that evening,
wherein she told him about the assault. He stated that Roe told him about the encounter “in detail,”
but could not recall any details at the hearing, other than that Plaintiff physically held Roe down.
He testified that the reason Roe walked Plaintiff back to his dorm. afterwards was because Roe
“loves to be a good hostess” and that it was her “duty as the hostess” to accompany Plaintiff back
to his dorm.

122. Notably, Witness 1’s timeline was completely belied by the swipe card records,

which showed Plaintiff and Roe were together until approximately 3:45 p.m. No one on the

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Administrative Board questioned Witness 1 as to this inconsistency. Similarly, no inquiry was
made into the fact that Witness 1 claimed Roe told him Plaintiff “held her down” and attempted to
have sex with her, and that she was too frozen to speak, whereas Roe never mentioned sexual
intercourse, admitted that she was on top of Plaintiff, and initially told Public Safety that she said
“stop” numerous times.

123. When O’Malley served as a witness, Plaintiff asked her questions about the extent
of Public Safety’s investigation regarding Roe’s claims. O’Malley acknowledged there were no
interview notes in the file for Roe or Witness 1, and refused to give a direct answer as to whether
she even conducted an interview of Roe or Witness 1, instead giving the cagey response, “a written
statement was provided.”

124. O’Malley also admitted that Public Safety never asked Witness 1 or Roe to provide
phone records of the alleged phone calls from Roe to Witness 1. O’Malley also admitted that she
did not investigate Plaintiff's complaints of harassment, threats, and assault, despite Plaintiff and
his advisor’s multiple requests for her to do so.

125. Roe testified at the hearing as well. Roe claimed that she made several statements
to Plaintiff such as “we shouldn’t be doing this, I have a boyfriend.” She stated that later on,
Plaintiff tried to pull down her pants, and she said “stop” and pulled them back up. She made no
mention of any digital penetration or attempted intercourse. Roe also admitted that in September
2018, she told a member of the fraternity where Plaintiff was assaulted in October 2018 that
Plaintiff had sexually assaulted her.

126. It was only after Roe gave her story that an Administrative Board member asked

her specifically whether Plaintiff digitally penetrated her. She then said that he did.

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127. None of the Administrative Board members questioned the discrepancy between
Roe and Witness 1’s testimony, nor the discrepancy between their written statements and their
hearing testimony.

128. On April 18, 2018, Plaintiff received a Notice of Finding from DePierro indicating
the Administrative Board found Plaintiff guilty of both charges of sexual assault. The “fact-
finding” portion of the notice was simply a copy/paste of the two sentence allegations against
Plaintiff from the Notice of Charges, with the phrase “the Board determined” at the beginning of
each sentence. The notice contained no rationale, explanation, credibility findings, weight of
evidence, or anything remotely resembling a reasoned decision or independent fact-finding. Much
like the Notice of Charges, the Notice of Finding also failed to contain any information about the
possible sanctions Plaintiff faced.

129. According to Hofstra’s Policy, “Affirmative Consent” is defined as “a knowing,
voluntary, and mutual decision among all participants to engage in sexual activity. Affirmative
Consent can be given by. . . actions, as long as those. . . actions create clear permission regarding
willingness to engage in the sexual activity.” In the instant case, Roe invited Plaintiff to her room,
got on top of Plaintiff, kissed him, and touched his body over his clothing. These are clear
indications by her actions that she wished to engage with Plaintiff. To the extent that Roe
mentioned her boyfriend while she was on top of Plaintiff and kissing him, Plaintiff did not
understand that statement alone, in the context of the complete situation, to be an indication of
non-consent. If Roe did not want to continue at any time, all she had to do was get off of Plaintiff
or say so. When Roe did say “stop,” Plaintiff stopped immediately.

130. On May 2, 2018, Plaintiff received a Notice of Sanction from DePierro. The Notice

informed Plaintiff that he was being sanctioned with a two-year suspension and a concurrent

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campus ban. The Notice also contained extensive additional requirements should Plaintiff seek
readmission at the close of his suspension. The Notice contained no explanation whatsoever as to
the range of potential sanctions, or the rationale for the selection/imposition of this sanction in
particular.

131. In light of the facts of this particular case, the issuance of a two-year suspension,
all because Plaintiff failed to understand Roe’s initial vague and ambivalent statement about her
boyfriend, is preposterous and unduly harsh, especially considering the lack of any real
investigation and the considerable discrepancies in Roe and Witness 1’s various statements.

132. On May 9, 2018, Plaintiff submitted an appeal of the Finding and Sanction. In the
appeal, Plaintiff raised the issues of: his lack of proper notice of the charges before the
investigation; O’Malley and McDonald’s denial of an advisor during his Public Safety interview;
the lack of any real investigation; the complete absence of any corroborating evidence of Roe’s
claims; the failure of Public Safety or the Board to probe the inconsistencies with Roe and
Witness 1’s statements; and the absence of any meaningful rationale or fact-finding in the
decisional process. Plaintiff also raised, once again, his concerns that no one at Hofstra responded
to his documented reports of stalking, harassment, threats, and abuse resulting from Roe’s actions.

133. On June 11, 2018, Plaintiff's appeal was summarily denied by Sofia B. Pertuz,
Assistant Vice President of Student Affairs. With respect to Hofstra’s failure to respond to
Plaintiff's reports of harassment, Pertuz claimed that Public Safety had sent him a singular email
on March 14, 2018, and it was therefore Plaintiff's fault for not responding to that email. Once
again, there was no indication as to what was even in the email, and no attempt to address

Plaintiff's complaint moving forward. Apparently, Hofstra considered the matter closed upon the

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sending of a single email, despite Plaintiff's numerous subsequent requests for assistance and
follow-up.

134. On June 15, 2018, Plaintiff submitted a final appeal of the Finding and Sanction to
W. Houston Dougherty, Vice President for Student Affairs. Plaintiff again raised the issues of
Hofstra’s procedural violations, lack of substantive investigation, absence of rationale or
explanations in the decision-making process, and Hofstra’s continued, deliberate indifference to
his reports of stalking, threats, harassment, and assault. On July 13, 2018, Plaintiff's final appeal
was summarily denied. Again, there was no rationale provided; the letter simply stated “I do not
find your procedural rights were violated” and “I do not find there was any failure to . . . respond
to complaints of discrimination or retaliation.”

135. Plaintiff has exhausted all avenues for appeal under Hofstra’s Policy.

Ill. DEFENDANTS BREACHED THEIR CONTRACTUAL AND LEGAL
OBLIGATIONS AND DUTY OF CARE OWED TO PLAINTIFF,

A. Hofstra’s Policies and Contract with Plaintiff.

136. Upon Plaintiffs acceptance into Hofstra, Hofstra provided Plaintiff with a copy of
the Hofstra University “Guide to Pride” 2017-2018 academic year Student Handbook (“the
Handbook”), which contains Hofstra’s various policies on student conduct, discipline, and
students’ rights and responsibilities. The Handbook also contains the Student Policy Prohibiting
Discriminatory Harassment, Relationship Violence and Sexual Misconduct (“the Policy”), which
is the applicable policy for Hofstra’s Title IX procedures.

137. On information and belief, the Handbook is updated and/or reissued each new
school year.

138. On information and belief, the Handbook and/or the various policies contained

therein, are also available online on the Hofstra university website.

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139. The Handbook constitutes and represents a contract between students and the
University and, in particular, between Plaintiff John Doe and Defendant Hofstra University.

140. Throughout the Title IX process in this case, Defendants breached their contractual
obligations and the implied covenant of good faith and fair dealing by failing to abide by the Policy
and the other processes outlined in the Student Handbook.

141. According to the Policy, a respondent in a Title IX proceeding has “the right to be
accompanied by an advisor of choice who may assist and advise the student throughout the conduct
process under this Policy, including during all meetings and hearings relating to the process.”
Student Handbook at 50 (emphasis added).

a. Defendants violated the Policy by: (i) failing to inform Plaintiff, before he was
summoned to the Public Safety Office, of his right to have an advisor present; and
(ii) denying Plaintiff access to an advisor during the February 14, 2018 Public
Safety interview, wherein Plaintiff specifically and expressly asked about his right
to an advisor, and was told “why would you need an advisor” and “no, we need to
do this now.”

142. The Policy provides that “investigations of Complaints will be prompt, thorough,
and impartial.” Student Handbook at 51 (emphasis added).

a. Defendants violated the Policy because they failed to conduct any investigation at
all. Indeed, at the hearing, Defendant O’Malley acknowledged there were no
interview notes in the investigative file and refused to directly answer whether she
had ever even interviewed Roe or Witness 1. She also admitted that Public Safety
made no attempt to gather relevant evidence that directly reflected on the credibility

of Roe and Witness 1’s story regarding Roe’s alleged phone calls.

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143. The Policy provides that the Notice of Charges “will contain the specific type of
violation with which the respondent is charged, and the date, time, location, and factual allegations
concerning the manner of the violation, as well_as possible sanctions for the violation.” Student
Handbook at 52 (emphasis added).

a. Defendants violated the Policy because the Notice of Charges sent to Plaintiff
contained no information about potential sanctions.

144. The Policy provides that “[u]pon being notified of the members of the board and
the Hearing Officer, the parties have the right to request the removal of a member of the board or
the Hearing Officer if a conflict of interest exists. The request must be made to the Dean of
Students or designee, and the party must be prepared to substantiate this contention.” Student
Handbook at 53.

a. Defendants violated the Policy and acted in bad faith by failing and refusing to
disclose the identities of the Administrative Board members before the date of the
hearing. Plainly, Plaintiff could not request removal to the Dean or substantiate
any potential conflict if he was not notified of the board members until the hearing
was already underway.

145. The Policy provides that the Notice of Finding will contain “the findings of fact
supporting the decision, and the rationale for the decision.” Student Handbook at 55.

a. Defendants violated the Policy because the Notice of Finding contained no findings
of fact or any rationale for the decision; there was no discussion of evidence,
credibility determinations, or anything other than a summary conclusion based on

a predetermined outcome.

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146. The Policy provides that, in assessing the appropriate sanction, the University shall
consider “(a) any record of past violations, (b) the nature and severity of such past violations, and
(c) premeditation/intent to commit a violation,” as well as “whether the sanction will (a) bring an
end to the violation in question, (b) reasonably prevent a recurrence of a similar violation, and (c)
remedy the effects of the violation on the complainant and the University community.” Student
Handbook at 55.

a. Defendants violated this Policy because the sanction of a two-year suspension
clearly failed to take into account that: (i) Plaintiff had no history of any past
violations; (ii) Plaintiff had no intent or premeditation, and in fact, Roe herself
acknowledged that Plaintiff had no intent or premeditation; (iii) the suspension was
not necessary to end the violation in question, as Plaintiff had no contact with Roe
since September of 2017; and (iv) to the extent Roe felt she did not want to be near
Plaintiff again, a simple continuation of the No-Contact order could have equally
remedied the effects of the alleged violation.

147. The Policy provides that “where sanctions are imposed, the students will be notified
of the rationale for the sanction.” Student Handbook at 55.

a. Defendants violated the Policy because the Notice of Sanction contained no
rationale or explanation of any kind for the sanction imposed.

148. The Policy provides that a Finding and Sanction may be set aside on appeal ift (i)
the respondent’s procedural rights have been violated; or (ii) the severity of the sanction is
inappropriate given the details of the case. See Student Handbook at 56.

a. Defendants violated the Policy because Defendants summarily denied both of

Plaintiff’ s appeals despite the overwhelming evidence that (i) Plaintiffs procedural

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rights were violated and (ii) the sanction of a two-year suspension for what was
essentially a misunderstanding of an ambiguous moment was clearly inappropriate
and disproportionate to the needs of the case.

149. The Student Handbook defines “Harassment” as “[p]hysically or emotionally
threatening or taunting another person, or bullying another person, whether these actions are taken
in-person, electronically, or by any other means” and/or “Te|ngaging in a course of conduct or
repeatedly committing acts that alarm . . . such other person(s).” Student Handbook at 32.

150. According to the Student Handbook, Hofstra is committed to “ensuring that no
individuals are subjected to . . . discriminatory harassment.” Student Handbook at 41.

151. The Student Handbook further defines discriminatory harassment as “epithets
because of an individual’s .. . race.” Student Handbook at 42.

152. The Student Handbook directs students experiencing discriminatory harassment to
the Title IX officer for Student Issues (Defendant Vernace). It also states that “the Title IX Officer
for Student Issues is responsible for overseeing the University’s response to reports and complaints
by students” under the Policy.

a. In the instant case, Plaintiff properly reported the harassment and threats he had
experienced to Defendant Vernace, pursuant to the Policy. Defendant Vernace took
no action to address Plaintiff s repeated complaints of stalking, threats, and racially-
discriminatory harassment, including racial epithets, despite her obligations under
the Policy.

153. The Policy provides that “Each reporting individual will have the right to request

that charges be filed against the accused in disciplinary proceedings.” Student Handbook at 50.

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a. Defendants violated the Policy by refusing to respond to Plaintiff's numerous
requests to file charges against Roe and/or Roe’s friends for threats, stalking,
racially discriminatory harassment, and assault in violation of the Student Code of
Conduct and the Policy.

B. New York State Education Law Article 129-B.

154. On July 7, 2015, New York State Governor Andrew Cuomo signed into law
Education Law Article 129-B (“Art. 129-B”), commonly known as “Enough is Enough,” which
became effective on October 5, 2015. See N.Y. Educ. L. § 6438 et seq.

155. Art. 129-B applies to “any college or university chartered by the regents or
incorporated by special act of the legislature that maintains a campus in New York,” including
Hofstra University. See N.Y. Educ. Law 6439(1). It mandates that all such institutions, including
Hofstra, adopt certain rules and procedures in connection with their sexual misconduct policies.

156. Art. 129-B mandates that each institution file with the State a certificate of
compliance with the law, as well as a copy of all written rules and policies adopted in accordance
with the statute. If any institution fails to file a certificate of compliance, it will be meligible to
receive state aid or assistance until such time as it files the certificate. Art. 129-B also requires the
State to conduct random audits to ensure compliance with the provisions of the statute.

157. In that regard, Art. 129-B sets forth a standard of care with which universities,
including Hofstra, and their agents and representatives, must comply when addressing complaints
of sexual assault and disciplinary proceedings related thereto.

158. Inthe instant case, Hofstra and its agents and employees breached their duty of care
to Plaintiff as an enrolled student subject to disciplinary proceedings governed by Art. 129-B. As
a result of this breach, Plaintiff suffered damages including loss of tuition payments, loss of

education, and loss of future educational and career opportunities.

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159.

Art. 129-B mandates that all New York State institutions of higher education,

including Hofstra, “shall ensure” that every student be afforded the following rights:

a.

“The right to a process . . . that includes, at a minimum: (i) notice to a respondent
describing the date, time, location and factual allegations concerning the violation,
a reference to the specific code of conduct provisions alleged to have been violated,
and possible sanctions”

“[W]ritten notice of the findings of fact, the decision and the sanction, if any, as
well as the rationale for the decision and sanction”;

“(T]he right... to be accompanied by an advisor of choice who may assist and
advise . . . throughout the judicial or conduct process including during all meetings
and hearings related to such process”;

“[ A] prompt response to any complaint and to have the complaint investigated and
adjudicated in an impartial, timely, and thorough manner”;

“{ T]he right to a presumption that the respondent is “not responsible’ until a finding
of responsibility is made pursuant to the provisions of this article”;

“[A]n investigation and process that is fair, impartial and provides a meaningful
opportunity to be heard”;

“[W]ritten or electronic notice, provided in advance ...of any meeting they are
required to or are eligible to attend, of the specific rule, rules or laws alleged to
have been violated and in what manner, and the sanction or sanctions that may be
imposed on the respondent based upon the outcome of the judicial or conduct

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process”;

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h. “[A] written statement detailing the factual findings supporting the determination
and the rationale for the sanction imposed”; and

i. “To be informed of the sanction or sanctions that may be imposed on the respondent
based upon the outcome of the judicial or conduct process and the rationale for the
actual sanction imposed.”

j. See N.Y. Educ. L. § 6444(5).

160. Defendants violated all of these rights, as guaranteed by Article 129-B, by: (i)
failing to provide Plaintiff written notice of the charges against him and the potential sanctions
before his required meeting with Public Safety; (ii) failing to inform Plaintiff of his right to an
advisor, and denying Plaintiff his right to an advisor at the required Public Safety meeting upon
his request; (iii) failing to conduct a thorough and impartial investigation into Roe’s claims against
Plaintiff; (iv) failing to inform Plaintiff of the potential sanctions he faced in the Notice of Charges;
(v) failing to afford Plaintiff the presumption of innocence; (vi) failing to provide written notice
of findings of fact and any rationale for the finding of responsibility; (v) failing to inform Plaintiff
of the potential sanctions he faced in the Notice of Finding; (vi) failing to provide any written
notice of the rationale for the sanction imposed; (vii) failing to respond to Plaintiff's complaints
of harassment and stalking; and (viii) failing to conduct a thorough and impartial investigation into
Plaintiff's claims against Roe and her friends.

161. Article 129-B also mandates that educational institutions “shall” adopt and
implement a “Students” Bill of Rights,” which must include, at minimum:

a. The right to “[p]articipate in a process that is fair, impartial, and provides adequate

notice and a meaningful opportunity to be heard”;

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b. The right to “[b]e protected from retaliation by the University, any student,
... and/or their friends, family and acquaintances within the University’s
jurisdiction”; and

c. The right to “[b]e accompanied by an advisor of choice who may assist and advise
a[n]... accused, or respondent throughout the judicial or conduct process
including during all meetings and hearings related to such process.”

d. See N.Y. Educ. L. § 6443.

162. Hofstra’s Student Handbook expressly incorporates the Students’ Bill of Rights.
Student Handbook at 58.

163. Defendants breached their duty of care under the New York Education Law and
their contractual obligations under the Hofstra Student Handbook by: (i) denying Plaintiff adequate
notice of the allegations against him and the potential sanctions; (ii) denying Plaintiff a fair and
impartial process; (iii) failing to protect Plaintiff from retaliation by Roe and her friends; and (iv)
denying Plaintiff the aid of an advisor during a mandatory meeting related to the Title IX process,
specifically, during his Public Safety interview in February 2018.

164. Asa reasonably foreseeable result of Defendants’ breach of their duties under the
New York Education Law, Plaintiff was improperly found Responsible for Sexual Assault,
improperly and unjustifiably suspended from Hofstra, permanently stigmatized as a rapist and
marred on his educational transcript/personnel file, denied the benefits of his enrollment and
tuition payments at Hofstra, damaged in his future educational and career prospects, and subjected

to harassment, threats, racial discrimination, and assault, creating a hostile learning environment.

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IV. PLAINTIFF’S DAMAGES.

165. Due to Defendants’ biased, unlawful, negligent and improper conduct, Plaintiff was
subjected to an unfair, biased, improper investigation and adjudication process which destroyed
his reputation, precluded him from receiving the education he was promised by virtue of his
enrollment at Hofstra, and will permanently impact his future education and career prospects.

166. Due to Defendants’ biased, unlawful, negligent and improper conduct, Plaintiff
was treated as a perpetrator and presumed guilty from the start.

167. Due to Defendants’ biased, unlawful, negligent and improper conduct, Plaintiff
has been falsely labeled as a perpetrator of sexual assault.

168. Due to Defendants’ biased, unlawful, negligent, and improper conduct, Plaintiffs
academic file and transcript are now marred by a false and baseless finding of sexual assault and
a suspension.

169. Due to Defendants’ biased, unlawful, negligent and improper conduct, Plaintiff has
suffered and will continue to suffer mental pain and anguish, emotional distress, ridicule, fear,
persecution, and deprivation of his education and damage to his future educational and career
prospects.

170. Due to Defendants’ negligent, reckless and deliberately indifferent conduct,
Plaintiff was subjected to a hostile learning environment by virtue of severe and pervasive
harassment, including stalking, threats, racial slurs, and a physical assault, for which he repeatedly
sought help from Hofstra and which Hofstra repeatedly ignored and refused to remediate.

171. Due to Defendants’ negligent, reckless and deliberately indifferent conduct,
Plaintiff was subjected to abuse, harassment and discrimination and deprived of his right to

education and the benefits of enrollment at Hofstra.

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AS AND FOR A FIRST CAUSE OF ACTION
Violation of Title LX of the Education Amendments of 1972-
Erroneous Outcome
(Against Hofstra)

172. Plaintiff John Doe repeats and re-alleges each and every allegation above as if fully
set forth herein.

173. Title IX of the Education Amendments of 1972 provides, in relevant part: “No
person in the United States shall, on the basis of sex, be excluded from participation in, be denied
the benefits of, or be subjected to discrimination under any education program or activity
receiving Federal financial assistance.” 20 U.S.C. § 1681(a).

174. Title IX of the Education Amendments of 1972 applies to all public and private
educational institutions that receive federal funding, including Defendant Hofstra university.

175. Title IX is enforceable through a private right of action.

176. Both the Department of Education and the Department of Justice have promulgated
regulations under Title IX that require a school to “adopt and publish grievance procedures
providing for the prompt and equitable resolution of student...complaints alleging any action
which would be prohibited by” Title IX or regulations thereunder. 34 C.F.R. § 106.8(b) (2018);
28 C.F.R. § 54.135(b) (2018) (emphasis added).

177. The “prompt and equitable” procedures that a school must implement include, at a

minimum: “[n]otice . . . of the procedure, including where complaints may be filed; Application

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of the procedure to complaints alleging harassment” and “[a]dequate, reliable, and impartial

investigation of complaints, including the opportunity to present witnesses and other evidence.”
Dep’t of Ed., Office for Civ. Rights, Revised Sexual Harassment Guidance: Harassment of
Students by School Employees, Other Students, or Third Parties -- Title IX (Jan. 19, 2001), at 20

(emphasis added).

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178. To succeed on an erroneous outcome claim under Title IX, a plaintiff must
demonstrate: (1) a flawed proceeding, which (2) led to an erroneous outcome; and (3) gender was
a motivating factor behind the erroneous outcome.

179. An erroneous outcome occurred in this case because Plaintiff was subjected to a
blatantly flawed proceeding and erroneously found to be responsible for violating Hofstra’s
policies, and gender was a motivating factor behind this erroneous outcome.

180. The proceedings were flawed and caused an erroneous outcome because, by way
of example and not limitation:

a. Defendants failed to inform Plaintiff, before he was summoned to the Public Safety
Office on February 14, 2018, of his right to have an advisor present;

b. Defendants denied Plaintiff access to an advisor during the February 14, 2018
Public Safety interview, wherein Plaintiff specifically and expressly asked about
his right to an advisor;

c. Defendants failed to timely notify Plaintiff, in writing, of the specific allegations
against him, the charges faced, and the potential sanctions if found responsible for
those charges;

\ d. Defendants failed to conduct a thorough and impartial investigation, relying
entirely on presumptions that the female complainant was truthful and credible and
that the male respondent was guilty;

e. Defendants failed to notify Plaintiff, in the Notice of Charges, of the potential
sanctions he faced;

f. Defendants refused to disclose the identities of the Administrative Board members

in advance of the hearing, despite Plaintiffs express requests for such information,

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g. Defendants failed to address the inconsistencies between Roe’s claims, Witness 1’s
testimony, and the evidence, indicating a predetermined finding of guilt based upon
Plaintiff's gender and status as a male accused;

h. Defendants failed to apply the presumption of innocence and failed to properly
apply the preponderance of the evidence standard,

i. Defendants failed to include, in the Notice of Finding, any real findings of fact,
credibility assessments, weighing of the evidence, reference to any evidence, or any
rationale whatsoever for the decision of the Administrative Board;

j. Defendants imposed an unduly harsh and disproportionate sanction, motivated by
Plaintiff's gender and the pressure on Hofstra to prosecute Title [X complaints,
rather than on the actual facts and circumstances of the case; and

k. Defendants did not provide any rationale for the imposition of the sanction, nor for
the summary denial of Plaintiff's appeals.

181. Particular circumstances suggest that gender bias was a motivating factor behind
the flawed proceedings, erroneous findings and the decision to impose unduly harsh discipline
upon Plaintiff. These circumstances include, by way of example and not limitation:

a. The pressure imposed by OCR’s third investigation at Hofstra for its allegedly
insufficient response to complaints of sexual harassment and assault, which, on
information and belief, were all filed by or on behalf of female students against
male respondents;

b. Internal pressure from the student body after years of criticizing Hofstra for its

insufficient response to claims of sexual assault, and specifically, for its

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“institutional misogyny” and insufficient prosecution and punishment of male
students and faculty members;

c. Defendants’ insistence on interrogating Plaintiff, the male accused, without an
advisor, while conducting no interview or questioning of the female complainant
throughout the process;

d. Defendants’ refusal to conduct any genuine investigation, for example, failing to
request phone records to verify that Roe did indeed call Witness 1 on the afternoon
of September 16, 2017; and

e. Defendants’ swift and summary actions to hold Plaintiff responsible and punish
him to the utmost, while completely and entirely refusing to address Roe’s own
violation of the Policy, including Plaintiff's repeated complaints of retaliation,
stalking, threats, harassment, and assault.

f. Defendants’ history, pattern, and practice of violating male respondents’ procedural
rights during the disciplinary process;

g. Defendants’ history, pattern, and practice of encouraging female students to seck
and pursue formal discipline against male respondents, while refusing to pursue
male students’ complaints of policy violations by female students; and

h. Defendants’ history, pattern, and practice of conducting partial and gender-biased
investigations.

182. Oninformation and belief, Hofstra’s mishandling of Roe’s complaint was informed
by internal institutional pressure as well as external pressure from the United States Department

of Education, under a threat of rescission of federal funds.

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183. Based on the foregoing, Plaintiff was subjected to a biased, prejudiced and
explicitly unfair process in violation of Title IX.

184. This unlawful discrimination in violation of Title [X caused Plaintiff to sustain
substantial injury, damage, and loss, including, without limitation, emotional distress,
psychological damages, loss of education, loss of future educational and career opportunities,
reputational damages, economic injuries and other direct and consequential damages.

185. Asaresult, Plaintiff is entitled to damages in an amount to be determined at trial,
plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements, as well as injunctive
relief directing Hofstra to: (i) reverse/vacate the findings and sanction regarding Jane Roe’s
complaint; (ii) expunge Plaintiff's disciplinary record and restore him as a student in good
standing; (iii) remove any record of Plaintiffs finding/suspension from his transcript/educational
file; (iv) permanently destroy any record of Jane Roe’s complaint; and (v) issue an
update/correction to any third parties to whom Plaintiffs disciplinary record may have been

disclosed.

AS AND FOR A SECOND CAUSE OF ACTION
Violation of Title VI of the Civil Rights Act of 1964—Discrimination
(Against Hofstra, DePierro, O’ Malley, and Vernace)
186. Plaintiff John Doe repeats and re-alleges each and every allegation above as if
fully set forth herein.
187. Title VI of the Civil Rights Act of 1964 states: “No person in the United States
shall, on the ground of race, color, or national origin, be excluded from participation in, be denied

the benefits of, or be subjected to discrimination under any program or activity receiving Federal

financial assistance.” 42 U.S.C. § 2000d.

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188. Title VI is enforceable by a private right of action. See Barnes v. Gorman, 536 US.
181 (2002).

189. To allege a claim for hostile educational environment under Title VI, a plaintiff
must plead: (i) the alleged harassment was so severe, pervasive, and objectively offensive that it
deprived the plaintiff of access to the educational opportunities or benefits provided by the school;
(ii) the plaintiff notified the funding recipient of the harassment; and (ii1) the funding recipient was
deliberately indifferent to the harassment. See TC v. Valley Cent. Sch. Dist., 777 F. Supp. 2d 577,
595 (S.D.N.Y. 2011).

190. Inthe instant case, Plaintiff was stalked on social media, personally threatened, had
his photograph disseminated along with information that, on information and belief, implicated
Plaintiff as a rapist; was denied access to campus Greek life; and was harassed, called racial
epithets, and physically assaulted by numerous students and friends of Roe. Collectively, these
actions were severe, pervasive, and objectively offensive, and precluded Plaintiff from taking full
advantage of campus life as he could not attend Greek life events, or even go about campus,
without fear of persecution and discrimination, particularly after being told that his photograph
had been distributed to numerous people.

191. Plaintiff notified Hofstra of the afore-mentioned stalking, threats, harassment, and
assault on numerous occasions, including at in-person meetings with Defendants Vernace and
DePierro, via email with documentary evidence to Defendant O’Malley, and in numerous
communications with Hofstra’s administration throughout Plaintiff's Title [X appeals.

192. According to the Hofstra Student Handbook, the Defendants to whom Plaintiff

reported this discriminatory harassment, including Hofstra’s Title [X officer for Student Issues and

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the Assistant Director of Public Safety, were responsible for responding to reports of harassment
and discrimination at Hofstra.

193. Despite Plaintiffs numerous requests to Hofstra to address the stalking, threats,
discriminatory harassment, and assault he reported, Hofstra repeatedly refused to take any
substantive action, simply claiming that Plaintiff should have received an email in March of 2018
and it was therefore Plaintiff's fault for not responding to the email. Even after Plaintiff made
clear to Hofstra that he either did not receive or understand the import of the alleged single email,
as indicated by his numerous subsequent requests to Hofstra to take some kind of remedial action,
Hofstra evidently considered the matter closed and knowingly and deliberately refused to take any
action to address Plaintiffs complaints, including refusing to even disclose the purpose or content
of the alleged email.

194. Notably, all Roe had to do in order for Hofstra to initiate formal charges against
Plaintiff was to write a one-paragraph statement, about which she was never substantively
interviewed or questioned. On this untested allegation alone, Hofstra’s Title IX officers, Public
Safety, and administration all took part in prosecuting Plaintiff. Yet, when Plaintiff submitted a
written report alleging severe discrimination and retaliation by Roe and her friends, including
documentary evidence supporting the allegations, Hofstra’s response was essentially to send
Plaintiff an email and take no real action whatsoever. Hofstra’s actions and inactions, and the
wildly different ways in which it treated a white, female complainant versus a male, African-
American and Puerto Rican complainant, show a deliberate indifference to Plaintiff's complaints
of racial discrimination and a bias against minority students.

195. Asa direct and proximate result of Defendants’ deliberate indifference, Plaintiff

sustained damages, including, without limitation, emotional distress, psychological damages, the

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loss of access to the full benefits of enrollment and student life at Hofstra, and other direct and
consequential damages.

196. Asa result of the foregoing, Plaintiff is entitled to damages in an amount to be
determined at trial, plus punitive damages, prejudgment interest, attorneys’ fees, expenses, costs
and disbursements, as well as injunctive relief directing Hofstra to investigate Plaintiff s complaint
and take appropriate remedial measures.

AS AND FOR A THIRD CAUSE OF ACTION
Violation of New York State Human Rights Law
(Against Hofstra)

197. Plaintiff John Doe repeats and realleges each and every allegation above as if fully
set forth herein.

198. The New York State Human Rights Law § 296(4) provides “[i]t shall be an
unlawful discriminatory practice for an education corporation or association... to permit the
harassment of any student or applicant, by reason of his race, color, religion, disability, national
origin, sexual orientation, military status, sex, age, or marital status[.]” N.Y. Exec. L. § 296(4).

199, Defendant Hofstra University is a private, non-sectarian, non-profit education
corporation organized and operating under the laws of the State of New York and as such, is subject
to the requirements of New York State Human Rights Law § 296(4).

200. In the instant case, Hofstra was made aware of racially discriminatory harassment
and assault committed against Plaintiff; specifically, Plaintiff reported to Hofstra that he had been
shoved, punched, and called racial slurs by several other Hofstra students.

201. Plaintiff notified Hofstra of the aforementioned harassment on numerous occasions,

including at in-person meetings with Defendants Vernace and DePierro, via email to Defendant

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O’Malley, and in numerous communications with Hofstra’s administration throughout Plaintiff's
Title IX appeals.

202. According to the Hofstra Student Handbook, the Defendants to whom Plaintiff
reported this discriminatory harassment, including Hofstra’s Title [X officer for Student Issues and
the Assistant Director of Public Safety, were responsible for responding to reports of harassment
and discrimination at Hofstra.

203. Despite Plaintiff's numerous requests to Hofstra to address the discriminatory
harassment and assault he reported, Hofstra repeatedly refused to take any substantive action,
simply claiming that Plaintiff should have received an email in March of 2018 and it was therefore
Plaintiffs fault for not responding to the email. Even after Plaintiff made clear to Hofstra that he
either did not receive or understand the import of the alleged single email, as indicated by his
numerous subsequent requests to Hofstra to take some kind of remedial action, Hofstra evidently
considered the matter closed and knowingly and deliberately refused to take any action to address
Plaintiff's complaints, including refusing to even disclose the purpose or content of the alleged
email. In that regard, Hofstra’s actions were irrational, unreasonable, and in bad faith.

204. Hofstra knew or should have known of the harassment Plaintiff was subjected to
and, by repeatedly refusing to address Plaintiff's claims, Hofstra condoned, acquiesced, and
permitted Plaintiff to be harassed based upon his race, in violation of New York State Human
Rights Law § 296(4).

205. As a direct and proximate result of Defendants’ conduct, Plaintiff sustained
damages, including, without limitation, emotional distress, psychological damages, the loss of
access to the full benefits of enrollment and student life at Hofstra, and other direct and

consequential damages.

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206. Asa result of the foregoing, Plaintiff is entitled to damages in an amount to be
determined at trial, plus punitive damages, prejudgment interest, attorneys’ fees, expenses, costs

and disbursements.
AS AND FOR A FOURTH CAUSE OF ACTION
Violation of New York State Civil Rights Law
(Against all Defendants)

207. Plaintiff John Doe repeats and realleges each and every allegation above as if fully
set forth herein.

208. Section 40-c of the New York State Civil Rights Law provides that “[n]o person
shall, because of race, . . . [or] sex, . . . be subjected to any discrimination in his or her civil rights,
or to any harassment, . . . in the exercise thereof[.]” N.Y. Civ. Rights L. § 40-c(2).

209. In accordance with New York law, the pursuit of education is “recognized and
declared to be a civil right.” N.Y. Exec. L. § 291(2).

210. As detailed in Plaintiffs First Cause of Action for violation of Title IX, Defendants
unlawfully discriminated against Plaintiff on the basis of his gender, and as a result, suspended
him, denying Plaintiff his right to pursue his education as an enrolled student at Hofstra.

211. As detailed in Plaintiffs Second and Third Causes of Action, Defendants
knowingly and deliberately permitted Plaintiff to be harassed on the basis of his race, substantially
interfering with his ability to pursue his education and enjoy all the benefits of being an enrolled
student at Hofstra.

212. Defendants discriminated against Plaintiff on the basis of his race and gender, by
refusing to address the complaint made by Plaintiff, an African-American and Puerto Rican male

student, while aggressively prosecuting the complaint made by Jane Roe, a white female student.

Notably, both Plaintiff and Roe made allegations regarding an assault; Plaintiffs allegations

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included stalking and threats as well. Yet, Roe’s complaint was taken seriously while Plaintiff's
complaint was repeatedly and callously ignored.

213. Based on the foregoing facts and circumstances, Defendants engaged in unlawful
discriminatory practices in violation of New York State Civil Rights Law § 40—c(2).

214. As a direct and proximate result of Defendants’ conduct, Plaintiff sustained
substantial injury, damage, and loss, including, without limitation, emotional distress,
psychological damages, loss of education, loss of future educational and career opportunities,
reputational damages, economic injuries and other direct and consequential damages.

215. Asa result of the foregoing, Plaintiff is entitled to damages in an amount to be
determined at trial, plus punitive damages, prejudgment interest, attorneys’ fees, expenses, costs

and disbursements.

AS AND FOR A FIFTH CAUSE OF ACTION
Breach of Contract
(Against Hofstra)

216. Plaintiff John Doe repeats and re-alleges each and every allegation above as if fully
set forth herein.

217.  Atall times relevant hereto, a contractual relationship existed between Hofstra and
Plaintiff by virtue of Plaintiff's enrollment at Hofstra and as defined by and through Hofstra’s
policies and procedures governing the student disciplinary system, including but not limited to the
Policy.

218. Through the documents it publishes and provides to students, Hofstra makes

express contractual commitments to students involved in the disciplinary process and/or the

reporting of potential violations of the student code of conduct.

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219. New York law recognizes that the relationship between a student and a college is
contractual in nature, and that the terms of the Student Handbook become part of that contract.
See Vought v. Teachers Coll., Columbia Univ., 511 N.Y.S.2d 880, 881 (App. Div. 1987).

220. Implied in every contract is the covenant of good faith and fair dealing. See Wood
v. Lucy, Lady Duff-Gordon, 222 N.Y. 88 (1917).

221. Based on the aforementioned facts and circumstances, Hofstra created express and
implied contracts when it offered, and Plaintiff accepted, admission to Hofstra, and when Plaintiff
paid the required tuition and fees.

222. Hofstra breached its agreement(s) with Plaintiff throughout the course of its
investigation and adjudication of Jane Roe’s complaint against Plaintiff. By way of example, and
not limitation:

a. Hofstra failed to inform Plaintiff, before he was summoned to the Public Safety
Office, of his right to have an advisor present, and denied Plaintiff access to an
advisor during the February 14, 2018 Public Safety interview, in violation of the
Policy provision permitting advisors at all meetings related to the Title IX process
as well as the Students’ Bill of Rights;

b. Hofstra failed to adequately notify Plaintiff of the allegations against him, by failing
to disclose such information until after the close of the investigation, in violation
of the Students’ Bill of Rights;

c. Hofstra failed to conduct a substantive investigation, with Defendant O’ Malley
admitting she took no notes, asked no substantive questions of Roe or her witness,
and failed to gather relevant evidence that could easily confirm or deny Roe’s claim

that she called Witness 1 immediately after her interaction with Plaintiff, in

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violation of the Policy provision guaranteeing a “thorough” and “impartial”
investigation;

d. Hofstra failed to notify Plaintiff of the potential sanctions he faced, in violation of
the Policy provision requiring the disclosure of such information in the Notice of
Charges;

e. Hofstra failed to include findings of fact or a rationale for the Administrative
Board’s decision, in violation of the Policy provision requiring the disclosure of
such information in the Notice of Finding;

f. Hofstra failed to apply the proper considerations to the sanction decision, and failed
to supply the rationale for the sanction imposed, in violation of the Student
Handbook provision requiring the consideration of certain enumerated factors, and
the Policy provision requiring the disclosure of the rationale;

g. Hofstra failed to protect Plaintiff from retaliation, harassment, discrimination, and
assault, in violation of the express promises contained in the Student Handbook and
the Students’ Bill of Rights; and

h. Hofstra failed to appropriately respond to Plaintiffs complaints of retaliation,
harassment, discrimination, and assault, in violation of the express and implied
promises in the Student Handbook and the Students’ Bill of Rights.

223. Taken together, Hofstra’s actions and inactions constitute not only breach of the
contract with Plaintiff, but also breach of the covenant of good faith and fair dealing implied in
such contract(s).

224. Asa result of the direct and foreseeable consequence of the foregoing breaches,

Plaintiff sustained damages, including, without limitation, emotional distress, psychological

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damages, loss of education, loss of future educational and career opportunities, reputational
damages, economic injuries and other direct and consequential damages.

225. Plaintiff attempted to remediate these damages through his repeated pleas to
Hofstra to address his complaints of discrimination and assault, as well as his numerous appeals
to Hofstra to overturn the faulty Finding and undue Sanction.

226. Asa result of the foregoing, Plaintiff is entitled to damages in an amount to be
determined at trial, plus punitive damages, prejudgment interest, attorneys’ fees, expenses, costs
and disbursements, as well as injunctive relief directing Hofstra to: (i) reverse/vacate the findings
and sanction regarding Jane Roe’s complaint; (ii) expunge Plaintiffs disciplinary record and
restore him as a student in good standing; (iii) remove any record of Plaintiff's finding/suspension
from his transcript/educational file; (iv) permanently destroy any record of Jane Roe’s complaint,
and (v) issue an update/correction to any third parties to whom Plaintiff's disciplinary record may

have been disclosed.

AND AS FOR A SIXTH CAUSE OF ACTION
Promissory Estoppel
(Against Hofstra)

227. Plaintiff John Doe repeats and re-alleges each and every allegation above as if fully
set forth herein.

228. Defendant Hofstra’s policies and representations in its Student Handbook and other
promotional materials constitute unambiguous representations and promises that Hofstra should
have reasonably expected to induce action or forbearance on the part of Plaintiff.

229. Hofstra proclaims on its website, “Hofstra University is committed to extending

equal opportunity to all qualified individuals without regard to race, color, religion, sex, sexual

orientation, gender identity or expression, age, national or ethnic origin, physical or mental

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disability, marital or veteran status ...in the conduct and operation of Hofstra University’s
educational programs and activities.”

230. Hofstra’s website also proclaims that Hofstra complies with Title IX of the
Education Amendments of 1972 and Title VI of the Civil Rights Act of 1964.

231. Hofstra expected or should have expected Plaintiff to accept its offer of admission
and financial aid, and choose not to attend other colleges based on its express and implied promises
including, but not limited to: the opportunity to attain his educational objectives, to have his health,
safety, welfare and human rights protected, to be free from discrimination, and to have complaints
resolved impartially and promptly.

232. Plaintiff reasonably and foreseeably relied to his detriment on these express and
implied promises and representations made by Hofstra, by choosing to attend Hofstra rather than
other schools of equal caliber.

233. These express and implied promises and representations made by Hofstra must be
enforced to prevent substantial injustice to Plaintiff, including the unconscionable outcome of his
two-year suspension and notation on his transcript, which will effectively preclude him from
obtaining his undergraduate education and negatively impact his future career options.

234. Asadirect and proximate result of the above conduct, Plaintiff sustained substantial
damages, including, without limitation, emotional distress, psychological damages, loss of
education, loss of future educational and career opportunities, reputational damages, economic
injuries and other direct and consequential damages.

235. Asaresult, Plaintiff is entitled to damages in an amount to be determined at trial,
plus punitive damages, prejudgment interest, attorneys’ fees, expenses, costs and disbursements,

as well as injunctive relief directing Hofstra to: (4) reverse/vacate the findings and sanction

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regarding Jane Roe’s complaint; (ii) expunge Plaintiff's disciplinary record and restore him as a
student in good standing; (iii) remove any record of Plaintiff's finding/suspension from his
transcript/educational file; (iv) permanently destroy any record of Jane Roe’s complaint; and (v)
issue an update/correction to any third parties to whom Plaintiff's disciplinary record may have

been disclosed.

AS AND FOR A SEVENTH CAUSE OF ACTION
Negligence
(Against O’Malley, McDonald, Vernace, and DePierro)
236. Plaintiff John Doe repeats and re-alleges each and every allegation above as if fully

set forth herein.

237. As school officials in charge of overseeing Plaintiff's education and safety at
_ Hofstra, Defendants O’ Malley, McDonald, Vernace, and DePierro owed Plaintiff a legal duty of
care.

238. As school officials in charge of overseeing and participating in the Title IX process
at Hofstra, Defendants O’ Malley, McDonald, Vernace, and DePierro are under a statutory duty,
imposed by Title IX, to conduct a fair and impartial process.

239. Asschool officials in charge of overseeing Plaintiff's education and safety, as well
as the disciplinary process at Hofstra, Defendants O’Malley, McDonald, Vernace, and DePierro
are under a statutory duty to comply with the standards set forth in Article 129-B of the New York
Education Law.

240. Defendants breached their duty of care to Plaintiff. By way of example, and not

limitation:

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a. Defendants O’Malley and McDonald wrongfully and deliberately deprived
Plaintiff of his right to have an advisor present during the Public Safety meeting in
February 2018;

b. Defendants O’Malley and McDonald refused and failed to conduct a substantive,
thorough, and impartial investigation into Roe’s claims against Plaintiff, and failed
to conduct a substantive, thorough, and impartial investigation into Plaintiff's
claims against Roe and her friends;

c. Defendants O’Malley, Vernace and DePierro refused and failed to address
Plaintiff's repeated pleas for help and reported harassment, threats, and assault;

d. Defendants Vernace and DePierro failed to provide Plaintiff with adequate, timely,
written notice of the allegations against him, the potential charges/policy violations,
and the potential sanctions he faced throughout the process;

e. Defendants Vernace and DePierro failed to provide Plaintiff with adequate notice
of the findings of fact and rationale for the decision finding him responsible for
sexual assault in violation of the Policy; and

f. Defendants Vernace and DePierro failed to provide Plaintiff with the rationale for
the imposition of the sanction of a two-year suspension.

241. Asa foreseeable, direct and proximate result of Defendants’ negligence, Plaintiff
was deprived of a fair and impartial process, wrongly found responsible for sexual assault,
deprived of adequate notice and opportunity to be heard, improperly and unduly sanctioned to a
two-year suspension and deprived of his education at Hofstra, and deprived of a fair opportunity

to appeal the findings and sanction, as no rationale was provided for either decision.

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242. Asa foreseeable, direct and proximate result of Defendants’ negligence, Plaintiff
sustained substantial injury, damage, and loss, including, without limitation, emotional distress,
psychological damages, loss of education, loss of future educational and career opportunities,
reputational damages, economic injuries and other direct and consequential damages.

243. Asaresult, Plaintiff is entitled to damages in an amount to be determined at trial,
plus punitive damages, prejudgment interest, attorneys’ fees, expenses, costs and disbursements.

AS AND FOR AN EIGHTH CAUSE OF ACTION
Negligence - Respondeat Superior
(Against Board of Trustees and Hofstra University)
244. Plaintiff John Doe repeats and re-alleges each and every allegation above as if fully

set forth herein.

245. As the employer for Defendants O’Malley, McDonald, Vernace and Depierro,
Hofstra University is vicariously responsible for the negligent acts of its employees committed
during the course of their employment.

246. As the managing body for all operations of Hofstra University, the Board of
Trustees is vicariously responsible for the negligent acts of Hofstra employees committed during
the course of their employment.

247. As detailed above, the fair and impartial investigation and adjudication of
complaints of harassment and discrimination are part of the regular employment duties of
Defendants O’ Malley, McDonald, Vernace and DePierro.

248. As detailed above, Defendants O’Malley, McDonald, Vernace and DePierro
breached their duty of care to Plaintiff in the course of their employment and ordinary duties at

Hofstra, specifically, with regard to their actions and inactions in investigating and adjudicating

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an assault complaint against Plaintiff and failing and refusing to address Plaintiff's complaints of
retaliation, stalking, harassment, discrimination, and assault by Roe and her friends.

249. As detailed above, the foreseeable, direct and proximate result of Defendants’
negligence was that Plaintiff sustained substantial injury, damage, and loss, including, without
limitation, emotional distress, psychological damages, loss of education, loss of future educational
and career opportunities, reputational damages, economic injuries and other direct and

consequential damages.

250. As a result, Defendants Hofstra University and Board of Trustees are liable to
Plaintiff for the negligent acts and omissions of Defendants O’ Malley, McDonald, Vernace and
DePierro under the principle of respondeat superior.

251. Therefore, Plaintiff is entitled to damages in an amount to be determined at trial,
plus punitive damages, prejudgment interest, attorneys’ fees, expenses, costs and disbursements.

PRAYER FOR RELIEF
WHEREFORE, for the foregoing reasons, Plaintiff John Doe demands judgment against

Defendants as follows:

i. On the First Cause of Action for violation of Title [IX of the Education Amendments
of 1972, a judgment against Hofstra awarding Plaintiff damages in an amount to be
determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and
disbursements; and an injunction directing Hofstra to: (4) reverse/vacate the
findings and sanction regarding Jane Roe’s complaint; (ii) expunge Plaintiffs
disciplinary record and restore him as a student in good standing; (iii) remove any
record of Plaintiffs finding/suspension from his transcript/educational file; (iv)
permanently destroy any record of Jane Roe’s complaint; and (v) issue an
update/correction to any third parties to whom Plaintiffs disciplinary record may
have been disclosed;

ii. On the Second Cause of Action for violation of Title VII of the Civil Rights Act of
1964, a judgment against Hofstra awarding Plaintiff damages in an amount to be
determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and
disbursements; and an injunction directing Hofstra investigate Plaintiff's complaint
and take appropriate remedial measures;

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On the Third Cause of Action for Violation of New York State Human Rights Law,
a judgment against Hofstra awarding Plaintiff damages in an amount to be
determined at trial, plus punitive damages, prejudgment interest, attorneys’ fees,
expenses, costs and disbursements;

On the Fourth Cause of Action for Violation of New York State Civil Rights Law,
a judgment against all Defendants awarding Plaintiff damages in an amount to be
determined at trial, plus punitive damages, prejudgment interest, attorneys’ fees,
expenses, costs and disbursements;

On the Fifth Cause of Action for Breach of Contract, a judgment against Hofstra
awarding Plaintiff damages in an amount to be determined at trial, plus punitive
damages, prejudgment interest, attorneys’ fees, expenses, costs and disbursements;
and an injunction directing Hofstra to: (i) reverse/vacate the findings and sanction
regarding Jane Roe’s complaint; (ii) expunge Plaintiffs disciplinary record and
restore him as a student in good standing; (iii) remove any record of Plaintiff's
finding/suspension from his transcript/educational file; (iv) permanently destroy
any record of Jane Roe’s complaint; and (v) issue an update/correction to any third
parties to whom Plaintiff's disciplinary record may have been disclosed;

On the Sixth Cause of Action for Promissory Estoppel, a judgment against Hofstra
awarding Plaintiff damages in an amount to be determined at trial, plus punitive
damages, prejudgment interest, attorneys’ fees, expenses, costs and disbursements;
and an injunction directing Hofstra to: (i) reverse/vacate the findings and sanction
regarding Jane Roe’s complaint; (ii) expunge Plaintiff's disciplinary record and
restore him as a student in good standing; (iii) remove any record of Plaintiff's
finding/suspension from his transcript/educational file; (iv) permanently destroy
any record of Jane Roe’s complaint; and (v) issue an update/correction to any third
parties to whom Plaintiff’s disciplinary record may have been disclosed;

On the Seventh Cause of Action for Negligence, a judgment against Defendants
O’Malley, McDonald, Vernace and DePierro awarding Plaintiff damages in an
amount to be determined at trial, plus punitive damages, prejudgment interest,
attorneys’ fees, expenses, costs and disbursements,

On the Eighth Cause of Action for Negligence — Respondeat Superior, a judgment
against Defendants Hofstra University and Board of Trustees awarding Plaintiff
damages in an amount to be determined at trial, plus punitive damages,
prejudgment interest, attorneys’ fees, expenses, costs and disbursements; and

Injunctive relief, in the form of an order directing Hofstra to: (i) reverse/vacate the
findings and sanction regarding Jane Roe’s complaint; (ii) expunge Plaintiff's
disciplinary record and restore him as a student in good standing; (ii1) remove any
record of Plaintiff's finding/suspension from his transcript/educational file; (iv)
permanently destroy any record of Jane Roe’s complaint; and (v) issue an
update/correction to any third parties to whom Plaintiffs disciplinary record may
have been disclosed; and

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x. Such other relief as the Court deems just and proper.

JURY DEMAND

Plaintiff herein demands a trial by jury of all issues so triable in this matter.

Dated: New York, New York
April 9, 2019

Respectfully submitted,

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